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From:                          Martinez,Adam{CfPB)
Stc1t                          Friday,February14, 202S 12:38PM
To:
Subjttt


FYSA

AdamMartinez
Chief Operating Officer

From, Marti1>ez,
              Adam{CFPB)
Sent: Frfdav,febroarv14, 2025 12:34 PM
To: YOUl'fl,Christopher
                      {CfPB)                              Lewin,Jeremy                          Wict. Jordon
(CFPBJ
Cc:Paoletta,Mark (CFPB)
Subject Status

Good afternoon -

My team and I had a productive conversation with OPM this morning to work out any identified risks
and answer follow-up questions regarding today's actions and notifications to staff. OPM shared that
typrally during the 30-day notice, employees work during this time to transfer any duties. Mark P.
just happened to call me, and I was able to ask for clarification and expectations for the first phase of
notifications.

We are going to place all staff on administrative leave for the 30-day notice period. This will provide
the flexibilityfor our new leadership team to call back staff to fulfill closeout duties such as
enforcement cases. If there are pockets of staff who we later determine do not need to be called back,
we can immediately offboard them (i.e., terminate acce:;~)for tl1eduration of the notice period.

I willprovide you all notice tight before the letters go out, along with the final numbers. This \"ill all
be done this afternoon.

Adam
Adam Martinez
chief Operating Officer
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                 U.S. Office of                                  U.S. Office of
                 Management and Budget                   Personnel Management


                                   MEMORANDUM

 TO:                     Heads of Executive Departments and Agencies
 FROM:                   Russell T. Vought, Director, Office of Management and Budget;
                         Charles Ezell, Acting Director, Office of Personnel Management.

 DATE:                   February 26, 2025
 RE:                     Guidance on Agency RIF and Reorganization Plans Requested by
                         Implementing 111ePresident's "Department of Govemment
                         Efficiency" Workforce Optimization Initiative


       I.      Bad,ground

       Tue federal government is costly, inefficient, and deeply in debt At the same time, it is not
producing results for the American public. Instead, tax dollars are being siphoned off to fund
tmproductive and W1Decessaryprograms that benefit radical interest groups while hw-ting hard-
working American citizens.

        Toe American people registered their verdict on the bloated, comipt federal bureaucracy
on November 5, 2024 by voting for President Trump and his promises to sweepingly reform the
federal government.

       On February 11, 2025, President Trump's Executive Order Implementing The President's
"Department of Govemment Efficiency" Workforce Optimization Initiative (Workforce
Optimization) "commence[d] a critical transformation of the Federal bureaucracy." It directed
agencies to "eliminat{e] waste, bloat, and insularity" in order to "empower American families,
workers, taxpayers, and our system of Government itself."

         President Tnunp required that "Agency Heads shall promptly undertake preparations to
initiate large-scale reductions in force (RIFs), consistent with applicable law." President Trump
also directed that, no laterthan March 13, 2025, agencies develop Agency Reorganization Plans.

     Tue U.S. Office of Management and Budget ("OMB") and the U.S. Office of Personnel
Management ("OPM") now submit guidance on these Agency RIF and Reorganization Plans
("ARRP''), along with the instruction that such plans be submitted to 0MB and OPM

       II.     P1·inciplesto Inform ARRPs

       ARRPs should seek to achieve the following
       1. Better service for the American people;
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       2. Increased productivity;

       3. A significant reduction in the lltllllber of full-time equi\'lllent (FTE) positions by
          eliminating positions that are not required;

       4. A reduced real properly footprint; and

       5. Reduced budget topline.

       Pursuant to the President's direction, agencies should focus on the maximum elimination
of functions that are not statutorily mandated while driving the highest-quality, most efficient
delivery of their statutorily-required functions.

        Agencies should also seek to consolidate areas of the agency organization chart that are
duplicative; consolidate management layers where unnecessary layers exist; seek reductions in
components and positions that are non-critical; implement technological solutions that automate
routine tasks while enabling staff to focus on higher-value activities; close and/or consolidate
regional field offices to the extent consistent with efficient service delivery; and maximally reduce
the use of outside consultants and contractors. When taking these actions, agencies sllould align
closures and/or relocation of bureaus and offices with agency return-to-office actions to avoid
multiple relocation benefit costs for individual employees.

       Agencies should review their statutory authority and ensure that their plans and actions are
consistent with such authority.

       Agency heads should collaborate with their Department of Government Efficiency
("OOGE") team leads within the agency in developing competitive areas for ARRPs. In addition,
the agency should specifically identify competitive areas that include positions not typically
designated as essential during a lapse in appropriations.When making this detennination, agencies
should refer to the functions that are excepted from the Antideficiency Act (ADA) in the Agency
Contingency Plans submitted to 0MB in 2019 as the starting point for making this determination.

       m.      Available Tools

        In their ARRPs, agencies should employ all available tools to effectuate the President's
directive for a more effective and efficient government and describe how they will use each. Such
tools include:

    1. Continuing to comply with the hiring freeze outlined in the January 20, 2025 Presidential
       Memorandum Hiring Freeze or (with approval of OPM and 0MB) implementing the
       general principle that, subject to appropriate exemptions, no more than one employee
       should be hired for every four employees that depart;

   2. Establishing internal processes that ensure agency leadership has visibility and/or direct
      sign-off on all potential job offers and candidates prior to extending offers;



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   3. Eliminating non-statutorily mandated functions through RIFs (Appendix. 1 contains a
      sample timeline);

   4.   Removing underperfonning employees or employees engaged in misconduct, and
        continuing to evaluate probationary employees;

   5. Reducing headcount through attrition and allowing term or temporary positions to expire
        without renewal;

   6. Separating reemployed annuitants in areas likely subject to RIFs; and

   7. Renegotiating provisions of collective bargaining agreements (CBAs) that would inhibit
      enhanced government efficiency and employee accountability.

        ARRPs should also list the competitive areas for large-scale reductions in force, the RIF
effective dates (which may be a date prior to when the plan is submitted). the expected conclt1Sion
of the RIFs, the nwnber of FTEs reduced, and additional impact of RIFs such as cancellation of
related contracts, leases or overhead.

       Agencies should also closely consider changes to regulations and agency policies,
including changes that must be pursued through notice-and-commentrulemaking, that would lead
to the reduction or elimination of agency subcomponents or speed up the implementation of
ARRPs.

        IV.    Phase 1 ARRPs

         Each agency will submit a Phase 1 ARRPs to 0MB and OPM for review and approval no
latei- than March 13, 2025. Phase I ARRPs shall focus on initial agency cuts and reductions.
Each Phase 1 ARRP should identify.

   1. A list of agency subcomponents or offices that provide direct services to citizens. Such
      subcomponents or offices should be included in ARRPs to improve seIVices to citizens
      while eliminating costs and reducing the size of the federal goverament. But for service
      delivery subcomponents or offices, implementation shall not begin until certified by 0MB
      and OPM as resulting in a positive effect on the delivery of such services.

   2. Any statutes that establish the agency, or subcomponents of the agency, as statutorily
      required entities. Agency leadership must confmn statutes have not been interpreted in a
      way that expands requirements beyond what the statute actually requires. Instead, statutes
      should be interpreted to cover only what functions they explicitly require.

   3. All agency components and employees perfonning functions not mandated by statute or
      regulation who are not typically designated as essential during a lapse in appropriations
      (because the fimctions perfonned by such employees do not fall under an exception to the
      ADA) using the Agency Contingency Plans submitted to 0MB in 2019 referenced above.



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   4. Whether the agency or any of its subcomponents should be eliminated or consolidated; and
      which specific subcomponents or functions, if any, should be expanded to deliver on the
      President's priorities.

   5. Tue specific tools the agency intends to use to achieve efficiencies, including, as to each,
      the number ofFTEs reduced and any potential savings or costs associated with such actions
      in Fiscal Years 2025, 2026 and 2027:

       a_ Continuation of the current hiring freeze;
       b. Regular attrition (e.g., retirement, movement between agencies and the private sector);
       c. Attrition through enhanced policies governing employee performance and conduct;
       d. Attrition through the termination or non-renewal of tenn or limited positions or
          reemployed annuitants;
       e. Attrition achieved by RIFs. Please refer to Appendix 1 for specific steps and timing.
          For purposes of the Phase 1 ARRP, the agency should include the following
          information:

             1. Tue competitive areas and organizational components that the agency has
                targeted or will target for initial R1Fs, and
            11. The agency's target for reductions in FrE positions via RIFs.


   6. A list by job position of all positions categorized as essential for purposes of exclusion
      from large-scale RIFs, including the number per each job position and total by agency and
      subcomponent.

   7. Tue agency's suggested plan for congressional engagement to gather input and agreement
      on major restructuring efforts and the movement of fundings between accounts, as
      applicable, including compliance with any congressional notification requirements.


   8. Tue agency's timetable and plan for implementing each part of its Phase 1 ARRP.

       V.         Phase 1 ARRPs

        Agencies should then submit a Phase 2 ARRP to 0MB and OPM for review and approval
no later than A.prll1'1,2025. Phase 2 plans shall outline a positive vision for more productive,
efficient agency operations going forward. Phase 2 plans should be planned for implementation by
September 30, 2025. The Phase 2 plan should include the following additional information:

   1. Tue agency's proposed future-state organizational chart with its functional areas,
       consolidated management hierarchy, and position titles and counts clearly depicted.

   2. Confirmation that the agency has reviewed all personnel data, including each employee's
      official position description, four most recent performance ratings of record, retention
      service computation date, and veterans' preference status.

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3. Tue agency's plan to ensure that employees are grouped, to the greatest extent possible,
   based on like duties andjob fimctions to promote effective collaboration and management,
   and that the agency's real estate footprint is aligned with cross-agency efforts coordinated
   by GSA to establish regional federal office hubs.

4. Any proposed relocations of agency bureaus and offices from Washington, D.C. and the
   National Capital Region to less-costly parts of the coun1ry.

5. The competitive areas for subsequent large-scale R.IFs.

6. All reductions, including FTE positions, term and temporary positions, reemployed
   annuitants, real estate footprint, and contracts that will occur in relation to the RIFs.

7. Any components absorbing fimctions, including how this will be achieved in terms ofFTE
   positions, funding, and space.

8. The agency's internal processes that ensure agency leadexship has visibility and/or direct
   sign-off on all potential job offers and candidates prior to extending offers.

9. Tue agency's data-driven plan to ensure new career appointment hires are in highest-need
   areas and adhere to the general principle that, subject to appropriate exemptions, no more
   than one employee should be hired for every four employees that depart. Until the agency
   has finalized its post-hiring-freeze plan, agencies should continue to adhere to the current
   hiring freeze.

10. Any provisions of collective bargaining agreements that would inhibit govenunent
    efficiency and cost-saving:;,and agency plans to renegotiate such provisions.

11. An explanation of how the ARRPs will improve services for Americans and advance the
    President's policy priorities.

12. The framework and criteria the agency has used to define and determine efficient use of
    existing personnel and funds to improve services and the delivery of these services.

13. For agencies that provide direct services to citizens (such as Social Security, Medicare, and
    veterans' health care), the agency's certification that implementation of the ARRPs will
    have a positive effect on the delivery of such services. The certification should include a
    written explanation from the Agency Head and, where appropriate, the agency's CIO and
    any relevant program manager.

14. The programs and agency components not impacted by the ARRP, and the justification for
    any exclusion.



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   15. Plans to reduce costs and promote efficiencies through improved technology, including
       through the adoption of new software or systems, and elimination of duplicative systems.

   16. Any changes to regulations and agency policies, including changes that must be pursued
       through notice-and-comment rulemaking, that would lead to the reduction or elimination
       of agency subcomponents. or speed up implementation of ARRPs.

   17. Tue agency's timetable and plan for implementing each part of its Phase 2ARRP, and its
       plan for monitoring and accountability in implementing its ARRPs.

       Agencies should continue sending monthly progress reports each month on May 14, 2025,
June 16, 2025, and July 16, 2025. All plans and reports requested by this memorandum should be
submitted to OPM at tracking@OJ)mgov and 0MB at work:force@ombeoJl.gov:when submitting
plans and reports, please ensure both OPM and 0MB addresses are included on the message.

       VI.    Exclusions
       Nothing in this memorandum shall have any application to:

   1. Positions that are necessary to meet law enforcement, border security, national security,
      immigration enforcement, or public safety responsibilities;

   2. Military personnel in 1he armed forces and all Federal uniformed personnel, including the
      U.S. Coast Guard, the Commissioned Corps of the U.S. Public Health Service, and the
      Commissioned Officer Corps of the National Oceanic and Atmospheric Administration;

   3. Officials nominated and appointed to positions requiring Presidential appoinbnent or
       Senate confumation, non-career positions in the Senior Executive Service or Schedule C
       positions in the excepted service, officials appointed through temporary organization hiring
       authority pursuant to 5 U.S.C. § 3161, or the appointment of any other non-career
       employees or officials, if approved by agency leadership appointed by the President;

   4. Tue Executive Office of the President; or

   5. Toe U.S. Postal Service.

       Finally, agencies or components that provide direct services to citizens (such as Social
Security, Medicare, and veterans' health care) shall not implement any proposed ARRPs until
0MB and OPM certify that the plans will have a positive effect on the delivery of such services.

cc: Chief Human Capital Officers ("CHCOs"). Deputy CHCOs, Human Resources Directors.
Chiefs of Staff, and DOGE team leads.




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                 Consumer Financial
                 Protection Bureau


1700 G street NW, Washington.D.C. 20552



April 15, 2025

TO:          :Michael Mahoney, U.S. Office of Personnel Management

FROM:        Adam Ma11inez, Chief Operating Officer/Acting Chief Human Capitm Officer
                                                     ADAM          ~b'fACIAM
SUBJECT:     Establishment of Competitive Arens      MARTINEZ 0-.202:>0< 10
                                                                                 -04'00'
                                                                          20:45:51

This memorand\llllserves as the ConsumerFinancial Protection Bureau's (CFPB) request for an
exceptionto the competitive area 90-day rule. Please find the CFPB responsesbelow with
regards to our competitive areas.

   1. A desc1iption of how the pl'Oposed area(s) differs from the one previously
       established for the same unit and geographic area:

       Answer: CFPB determined the divisions and offices listed below will be impacted by
       reduction-in-force.No competitiveareas were previously finalized and implemented.
                 Division/Office                                      Reduction
                 CFPB CENTRALIZED SERVICES                                5
                      CFPB CENTRALIZED SERVICES-HUMAN CAPITAL             4
                 CONSUMER RESPONSE EDUCATION DIV                         129
                      CONSUMER RESPONSE                                  111
                      CONSUMER RESPONSE EDUCATION DIVISION                7
                      FINANCIAL EDUCATION                                11
                 DIRECTOR                                                80
                      Legislative Affairs                                 2
                      Office of Policy Planning & Strategy               16
                      Office of Civil Rights                              8
                      Office of Fair Lending and Equal Opp               12
                      Office of Minority and Women Incl                  13
                      OFFICE OF THE DEPUTY DIRECTOR                       0
                      OFFICE OF THE DIRECTOR                             30




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              ENFORCEMENT DIVISION                                 198
                  ENFORCEMENT                                      198
              EXTERNAL AFFAIRS DIVISION                            39
                  COMMUNICATIONS                                   11
                  EXTERNAL AFFAIRS DIVISION                        13
                  INTERGOVERNMENTAL AFFAIRS                         5
                  PRIVATE SECTOR ENGAGEMENT                         4
                  PUBLIC ENGAGEMENT                                 6
              LEGAL DIVISION                                       60
                  GENERAL LAW AND ETHICS                           25
                  LAW ANO POLICY                                   25
                  LEGAL DIVISION                                   12
                  LITIGATION                                        3
                  OVERSIGHT                                         1
              OPERATIONS DIVISION                                  293
                  ADMINISTRATIVE OPERATIONS                        28
                  CHIEF DATA OFFICER                               10
                  FINANCE AND PROCUREMENT                          48
                  HUMAN CAPITAL                                    56
                  OPERATIONS DIVISION                               8
                  TECHNOLOGY ANO INNOVATION                        143
              OTHER PROGRAMS                                       33
                  DIRECTOR'S FINANCIALANALYSTS                     29
                  OMBUDSMAN                                         4
              RESEARCH MONITORING AND REGULATIONS DIV              208
                  Competition and Innovation                        9
                  CONSUMER POPULATIONS                             42
                  MARKETS                                          36
                  REGULATIONS                                      56
                  RESEARCH                                         55
                  RESEARCH MONITORING AND REGULATIONS DIV          10
              SUPERVISION DIVISION                                 437
                  DIVISION OF SUPERVISION                           1
                  OFFICE OF SUPV POLICY ANO OPS                    104
                  SUPERVISION EXAMINATIONS                          1
                  SUPERVISION MIDWEST REGION                       89
                  SUPERVISION NORTHEAST REGION                     95
                  SUPERVISION SOUTHEAST REGION                     65
                  SUPERVISION WEST REGION                          82
              Grand Total                                          1482




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  2. An organizational chart of the agency showing the relationship between the
     organizational components "Hhin the competitive area(s) and other components in
     the commuting area
     Answer: Organizationalchart attached.

  3. The number of competing employees in the proposed competitive area(s):

     Answer: Approximatelyl482 competing employees in the proposed competitiveareas.

  4. A desctiption of the ope1·atioo, wo1·kfunction, staff, and penonnel administt·ation of
     the p1·oposed al'ea and, where appropriate, a desc1iption of how the area is
     distinguished from others in these respects:
     Answec All functions are unique to the specific division, office and/or unit and support
     that unit's mission.

  S. A discussion of the cinumstances that led to the proposed changes less than 90 days
     before a proposed reduction:

     Answe1·: The CFPB is responding to Executive Order Implementin,2 The President's
     "Dmartment.of Government Efficienc_v"Workforce Optimization Initiative - The White
     House dated February 11, 2025.




consumerfinance.gov                                                                             3




                                                                                  CFPB_00142
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                 UNITED STATES OPFICE OF PERSONNEL MANAGEMENT
                                       W<1Slling100,
                                                  DC 204L5



                                       February 14, 2025

Mr. AdamMartinez
Chief Operating Officer/Acting Chief Human Capital Officer
Consumer Financial Protection Bureau
1700GStNW
Washington, DC 20552

Dear Mr. Martinez:

The Office of Personnel Management (OPM) approves the Consumer Financial Protection
Bureau's (CFPB) February 13, 2025, request, and supplemental modification of the request, for
OPM approval of competitive areas which will be in effect less than 90 days prior to the
proposed effective date of reduction of force (RIF). Yow-request indicates that a RIF is
necessary due to the impact of the Executive Order titled, "hnplementing The President's
"Department of Government Efficiency" Workforce Optimization Initiative" (February 11,
2025), and the CFPB Acting Director's work stoppage order dated February 10, 2025.

OPM approves your request, and supplemental modification, in accordance with 5 CFR
351.402(c) This provision requires OPM approval when a competitive area will be in effect less
than 90 days prior to the effective date of a RIF. The competitive areas proposed in your request
were not previously established. They comprise the groups mentioned in your request including
their various divisions, offices, and units, and as depicted in the organizational chart you
provided, with one exception:this approval does not include the 'Office of the Director/Office of
Civil Rights- 13 positions' indicated in your request. In a February 14, 2025, meeting with
OPM staff CFPB clarified this competitive area should be removed from the request.

Please contact Katika Floyd by email at katika.floyd/@.oom.govor phone at 202-606-9531 should
you or staff have any questions with this response.

                                            Sincerely,




                                            Veronica E. Hinton
                                            Associate Director
                                            Workforce Policy and Innovation




                                                                                   CFPB_00147
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    Template fol' Requesting a Reduction in Force (RIF) Notice to Employee
                            Pel'iod of less than 60 days


Agency: Consumer Financial Protection Bureau

Name oft.he affected component(s): _B_u_r_e_a_u_-w_id_e
                                             ____________                                           _


Each competing employee in a RIF who is selected for release from a competitive level is
entitled to a specific written notice at least 60 full days before the effective date of release.
However, when an agency must run a RIF due to unforeseeable circlllllStances,the head of the
agency may request an exception to the 60-day notice period from the Office of Personnel
Management (OPM). The shortened notice period must cover at least 30-full days before
the effective date of the employee's release.
An agency's request for an exception to the minimum 60-0ay specific RIF notice period must be
signed by the head of the agency or a specmc clesignee in the headquarters. When requesting an
exception to the 60-day notice period, please address the following
1. The organization(s) and geographic location(s) for which an exception is requested: __           _
Bureau-wide, Washington, DC, San Francisco, CA, New Yori<, NY, Chicago, IL, and mobile workers/remote

2. Tue effective date of the RIF Approximately 05/17/2025

3. The nwnber of employees who will be issued RIF notices: _1_4_8_2
                                                               _________                                _
4. Toe RIF notice period being requested (full nwnber of days): 30 calendar           days

5. Toe reasons why a shorter RIF notice period is needed (describe the unforeseen circUillStance
which has caused the agency to request a shorter notification period) ________                _
The CFPB is respondingto ExecutiVeOrder ImplementingThe Presidenrs"Departmentof Government

Efficiency'WorkforceOptimizationlnttiative<latedFebruary11, 2025.

6. The name, telephone number, and title of an agency contact person in the event OPM needs
additional information about the request:
        Name: Nikki DiPalma
        EmaiVtelephone number: niKKLaiparma@crpo.gov
                                                / 202-374-6887
        Title: Senior Director, Employee Services

Agency Signature of Requesting Official (Agency Head or Designee):
Requesting Official's Name: _A_d_a_m_M_a_rt_in_e_z
                                         ____________                                        _



                                                                                           CFPB_00149
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                               Acting Chief Human Capital Officer
Requesting Official's Title:
Requ1>sting Official's Signaturf' and datf' (m· attach sign1>dcnnr m1>mn):
ADAM            =~Edbyl<JAM

 MARTINEZ    =,~~.,:      5
                                                                             Date:
                                                                                     04/15/2025
---------------------------
Please submit to:

Email: WPintake@opm.gov

Mailing Address:

       DeputyAssociateDirector
       TalentAcquisition,Classification,and VeteransPrograms
       Wodcforce Policy and Innovation
       U.S. Office of Personnel Management
       1900 E Street, NW Room6500 Washington,DC 20415




                                                                                     CFPB_00150
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MEMORANDUM FOR:               [EmployeeFirstName]
                                                [EmployeeLastName]

FROM                          Adam Martinez      Gu:-'.'6
                              Acting Chief Human Capital Officer
                              Operations Division, Front Office

DATE:                         April 13, 2025

SUBJECT:                      Specific Notice of Reduction in Force

I regretto informyou that you are affectedby a reductionin force(RIF) action.This RIF actionis
necessary to restructure the Bureau's operations to better reflect the agency's priorities and
nuss1on.

This is your specificnotice of RIF. In accordancewith RIF proceduresspecifiedin Title 5, Code
of FederalRegulations,Part 351, you are beingreleased fromyour competitivelevelbecause
your competitive area is being eliminated. Consequently, you will be separated from Federal
seivice effective April 13, 2025. In the event you are qualified and have assignment rights to a
positionthat becomesavailableduringthe noticeperiod, you will be informedvia a specific,
subsequentRIF notice. Shouldthe circumstancesof the RIF otherwisechange,this noticemay
be withdrawn.

RetentionStanding

This actionis beingtaken underthe civil serviceRIF regulationsand procedures.CFPBretains
information used in connection with this action, including retention registers which list
employeesin retentionstandingorder by civil servicetenuregroup and subgroup,veterans'
preference,performanceratings,and lengthof Federalservice.Becauseyour entire competitive
area is being eliminated,retentionregisterswill not affectyour separationdate or status.
Nonetheless, the following infomlation was used to detennine your retention standing as of the
R.IFeffectivedate:

CompetitiveArea: [Office]
Type of Service: [AppointmentType]
Work Schedule: (WorkSchedule]
Position:[JobTitle],[PayPlan]-[Grade],Series [Series]
CompetitiveLevel:[CompetitiveLevel]
TenureGroupand Subgroup [TenureGroup]
Veterans' Preference: [VeteransPreference)
Last ThreePerformanceRatings:
       [Rating!]
       [Rating2)
       [Rating3]
AdditionalYearsof CreditBasedon PerformanceRatings:
[AdditionalYearsCreditBasedOnRatings]
AdjustedRIF SeiviceComputationDate (SCD):[SCD_RIF]



                                                                                      CFPB_00152
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NOTE: Tue adjusted R1F SCD includes all creditable militaryand civilian service and is
adjusted with additional credit (up to a maximum of20 years) for the performance ratings.

Please contact the Bureau of Fiscal Senrice (BFS) at 304-480-8000 option 4 or
CFPBHROPs@fiscal.treasury.govimmediately if you believe any of the above information is
incorrect. 1be Bureau is committed to correcting any incorrect employee information.

RIFPackage

Each employee impacted by R1F has access to documents that outline applicable benefits for
which you may be eligible or entitled as appropriate. To access these documents, you may make
an appointment with the Bureau of Fiscal Service (BFS) to obtain paper copies of the documents.
You may make an appointment by contacting BFS at 304-480-8000 option 4 or
CFPBHROPs@fiscal.treasury.gov.In addition, the websites to certain relevant external benefits
provided by other entities are found immediately below.

For training benefits under the World'orce hnprovement Act of 1998, please see
www.careeronestop.org.

For unemployment compensation benefits, please refer to the Department of Labor website at
www.dol.gov.

For general information on transition assistance, please refer to the Office of Personnel
Management website at www.opm.gov.

Appeal and G1ievanceRights

U.S. Merit Systems Protection Board <MSPB)
If you believe your retention rights have not been applied correctly or have been violated, you
may appeal this action to the MSPB. Your appeal must be in writing and may be filed any time
after the effective date of the action being appealed until no later than 30 calendar days after the
effective date. Failure to file an appeal within the time limit may result in dismissal of the appeal
as untimely filed. More infonnation on filing appeals is included in your RIF package. You may
also access the MSPB website at www lllSJlh.gov for additional and further detailed information
on the appeal process.

Equal fypployment Opportunity <EEO)
If you believe this personnel action is based in whole or in part on discrimination based on your
race, color, religion, sex, national origin, age or handicap, you may file a complaint with the
Agency's Office of Civil Rights, specifically an EEO Counselor at CFPB_ EEO@cfpb.gov or
(202) 435-9EEO, 1-855-233-0362 or 202-435-9742 (ITY). You must contact POC no latertllan
45 calendar days of the effective date of the action, specifically, your separation from Federal
service. You may also file with MSPB as noted above and raise discrimination as an affirmative
defense. However, you may not proceed through both forums; you must elect one or the
other. You may also access the U.S. Equal Employment Opportunity Commission (EEOC)


                                                                                        CFPB_00153
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website at www.eeoc.gov for additional and further detailed information on the Federal sector
EEO process.

Office of Special Counsel
You may also seek corrective action before the U.S. Office of Special Counsel (OSC). Visit the
OSC e-filing system web site at www.osc.gov, to access the online application. However, if you
do so, you will be limited to whether the agency took one or more covered personnel actions
against you in retaliation for making protected whistleblowing disclosures. If you choose to file
an action with OSC, you will be foregoing your right to otherwise challenge the basis for this
personnel action.

Conclusion

1his action is being taken in accordance with the applicable civil service R1F regulations.
Included in your R1F package is a copy of the Office of Personnel Management (OPM) retention
regulations, 5 CF .R Part 351. Further and detailed infonnation about the R1F regulations may
also be acces.sedon OPM website, Reductions in Force. You may make an appointment to
review and obtain a copy of the RIF regulations and/or records pertaining to you by contacting
the Bureau of Fiscal Service.

Toe Employee Assistance Program (EAP) is available free to you and in most cases your
immediate family. EAP counselors are available 24 hours a day, 365 days per year at 1-800-222-
0364 (TIY 1-888-262-7848) or http://www.foh4you.com1.

Because you are being separated through a RIF action, you are eligible for career
transition and placement assistance. Specifically, you are eligible for the Bureau
Reemployment Priority List (RPL). Career Transition Assistance Program (CTAP). and
Interagency Career Transition Assistance Program (ICTAP). Your R1F package includes
further information on these programs.

Please be advised that an early resignation may affect your eligibility for placement
assistance and your appeal rights. It may also impact your ability to qualify for
unemployment compensation and training benefits provided under WIA. You are
encouraged to contact your State's Department of Labor and Employment for any
questions regarding unemployment compensation. You are also encouraged lo contact the
Bureau of Fiscal Service (BFS) at 304-480-8000 option 4 or
CFPBHROPs@fiscal.treasury.gov to determine how an early resignation may affect your
benefits.

1his R1F action does not reflect directly on your service, performance, or conduct. It is being
taken solely for the reasons stated above. Leadership at the Bureau of Consumer Financial
Protection are appreciative of your service.

Attachments (8)
1. Acknowledgement of Receipt
2. MSPB Appeal Information


                                                                                       CFPB_00154
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   3. OPMRetentionRegulations
   4. SeverancePay Estimate
   5. Unemploymentinsurance
   6. State WorkforcePrograms
   7. Authorizationfor Releaseof EmploymentInfonnation
   8. CTAP, ICTAP and ReemploymentPriorityList (RPL)ProgramInformation




                                                                  CFPB_00155
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MEMORANDUM FOR:                [EmployeeFirstName] [EmployeeLastName]

FROM                           Russell T. Vought
                               Acting Director

DATE:                          April 13, 2025

SUBJECT:                       Specific Notice of Reduction in Fooce

I regret to inform you that you are affected by a reduction in force (RIF) action. This RIF action is
necessary to restructure the Bureau's operations to better reflect the agency's priorities and
mission.

This is your specific notice of RIF. In accordance with RIF procedures specified in Title 5, Code
of Federal Regulations, Part 351, you are being released from your competitive level because
your competitive area is being eliminated. Consequently, you will be separated from Federal
service effective April 13, 2025. In the event you are qualified and have assignment rights to a
position that becomes available during the notice period, you will be informed via a specific,
subsequent RIF notice. Should the circumstances of the RIF otherwise change, this notice may
be withdrawn.

Retention Standing

This action is being taken under the civil service RIF regulations and procedures. CFPB retains
information used in connection with this action, including retention registers which list
employees in retention standing order by civil service tenure group and subgroup, veterans'
preference. performance ratings, and length of Federal seivice. Because your entire competitive
area is being eliminated, retention registers will not affect your separation date or status.
Nonetheless, the following infonnation was used to determine your retention standing as of the
RIF effective date:

Competitive Area: [Office]
Type of Seivice: [AppointmentType]
Work Schedule: (WorkSchedule]
Position: [JobTitle], [PayPlan]-[Grade], Series [Series]
Competitive Level: [CompetitiveLevel]
Tenure Group and Subgroup [TenureGroup]
Veterans' Preference: (VeteransPreference]
Last Three Performance Ratings:
        [Ratingl]
        [Rating2]
        [Rating3)
Additional Years of Credit Based on Performance Ratings:
[AdditionalYearsCreditBasedOnRatings]
Adjusted RIF Seivice Computation Date (SCD): [SCD_ RIF]




                                                                                        CFPB_00168
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NO1E: Tue adjusted RIF SCD includes all creditable military and civilian service and is
adjusted with additional credit (up to a maximum of20 years) for the performance ratings.

Please contact the Bureau of Fiscal SeIVice(BFS) at 304-480-8000 option 4 or
CFPBHROPs@fiscal.treasury.govimmediately if you believe any of the above information is
incorrect. 1be Bureau is committed to correcting any incorrect employee information.

RIFPackage

Each employee impacted by R1F has access to documents that outline applicable benefits for
which you may be eligible or entitled as appropriate. To aecess these documents, you may make
an appointment with the Bureau of Fiscal SeIVice(BFS) to obtain paper copies of the documents.
You may make an appointment by contacting BFS at 304-480-8000 option 4 or
CFPBHROPs@fiscal.treasury.gov.In addition, the websites to catain relevant external benefits
provided by other entities are found immediately below.

For training benefits under the World'orce hnprovement Act of 1998,please see
www.careeronestop.org.

For unemployment compensation benefits, please refer to the Department of Labor website at
www.dol.gov.

For general information on transition assistance, please refer to the Office of Personnel
Management website at wwwQl)JU VQY

Appealand G1ievanceRights

U.S. Merit Systems Protection Board (MSPB)
If you believe your retention rights have not been applied correctly or have been violated, you
may appeal this action to the MSPB. Your appeal must be in writing and may be filed any time
after the effective date of the action being appealed until no later than 30 calendar days after the
effective date. Failure to file an appeal within the time limit may result in dismissal of the appeal
as untimely filed. More information on filing appeals is included in your RIF package. You may
also access the MSPB website at www.lllSJlb.govfor additional and further detailed information
on the appeal process.

Equal fmp)ovment Opoortunjty <EEO}
If you believe this personnel action is based in whole or in part on discrimination based on your
race, color, religion, sex, national origin, age or handicap, you may file a complaint with the
Agency's Office of Civil Rights, specifically an EEO Counselor at CFPB_ EEO@cfpb.gov or
(202) 435-9EEO, 1-855-233-0362or 202-435-9742 (JTY). You must contact POC no latertl1an
45 calendar days of the effective date of the action, specifically, your separation from Federal
seIVice.You may also file with MSPB as noted above and raise discrimination as an affirmative
defense. However, you may not proceed through both forums; you must elect one or the
other. You may also access the U.S. Equal Employment Opportunity Commission (EEOC)


                                                                                        CFPB_00169
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website at www.eeoc.gov for additional and further detailed information on the Federal sector
EEO process.

Office of Special Counsel
You may also seek corrective action before the U.S. Office of Special Counsel (OSC). Visit the
OSC e-filing system web site at www.osc.gov, to access the online application. However, if you
do so, you will be limited to whether the agency took one or more covered personnel actions
against you in retaliation for making protected whistleblowing disclosures. If you choose to file
an action with OSC, you will be foregoing your right to otherwise challenge the basis for this
personnel action.

Conclusion

1his action is being taken in accordance with the applicable civil service R1F regulations.
Included in your R1F package is a copy of the Office of Personnel Management (OPM) retention
regulations, 5 CF .R Part 351. Further and detailed infonnation about the R1F regulations may
also be acces.sedon OPM website, Reductions in Force. You may make an appointment to
review and obtain a copy of the RIF regulations and/or records pertaining to you by contacting
the Bureau of Fiscal Service.

Toe Employee Assistance Program (EAP) is available free to you and in most cases your
immediate family. EAP counselors are available 24 hours a day, 365 days per year at 1-800-222-
0364 (TIY 1-888-262-7848) or http://www.foh4you.com1.

Because you are being separated through a RIF action, you are eligible for career
transition and placement assistance. Specifically, you are eligible for the Bureau
Reemployment Priority List (RPL). Career Transition Assistance Program (CTAP). and
Interagency Career Transition Assistance Program (ICTAP). Your R1F package includes
further information on these programs.

Please be advised that an early resignation may affect your eligibility for placement
assistance and your appeal rights. It may also impact your ability to qualify for
unemployment compensation and training benefits provided under WIA. You are
encouraged to contact your State's Department of Labor and Employment for any
questions regarding unemployment compensation. You are also encouraged lo contact the
Bureau of Fiscal Service (BFS) at 304-480-8000 option 4 or
CFPBHROPs@fiscal.treasury.gov to determine how an early resignation may affect your
benefits.

1his R1F action does not reflect directly on your service, performance, or conduct. It is being
taken solely for the reasons stated above. Leadership at the Bureau of Consumer Financial
Protection are appreciative of your service.

Attachments (8)
1. Acknowledgement of Receipt
2. MSPB Appeal Information


                                                                                       CFPB_00170
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   3. OPMRetentionRegulations
   4. SeverancePay Estimate
   5. Unemploymentinsurance
   6. State WorkforcePrograms
   7. Authorizationfor Releaseof EmploymentInfonnation
   8. CTAP, ICTAP and ReemploymentPriorityList (RPL)ProgramInformation




                                                                  CFPB_00171
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From:           DorfmanYrtoriafnet:ak:e)
To:             Shapiro.Daniel (Detailee}; Paoletta,Mark (Detailee)(CFPB}
Subject::       FW: Enforcementrequests
Date:           Friday, April 18, 202S s,16,14 PM



Given the stay, I assume we don't need to do anything on this? I can respond along the
lines of:


Cara, thank you for reaching out. As you may have seen, the court issued a stay, so for
now, all of the activities you outlined should continue.                    If there are any changes in the
stay status, we will be in touch with you to address these concerns.                     Thank you.


From: Petersen, Cara (CFPB) <Cara.Petersen@cfpb.gov>
Sent: Friday,April 18, 2025 3:53 PM
To: Paoletta, Mark (Detailee)(CFPB)<Mark.Paoletta@cfpb.gov>;Shapiro, Oaniel (Detailee)
<Daniel.Shapiro@cfpb.gov>;Dorfman, Victoria (Oetailee)<Victoria.Oorfman@cfpb.gov>
Subject: Enforcement requests


All,

I sent a couple requests earlier today in response to the email chain about the Experian filing,
but I thought it might be best to send a separate email to raise these issues generally and loop
in Victoria.

As I mentioned, in addition to the potential local counsel issue in Experian, there appear to be
several other matters where me planned RIFswould mean the Bureau would no longer be
represented and out of compliance with local rules because all attorneys on the matter would
beon administrative leave and thus withdrawing. To ensure that attorneys have appeared in all
the enforcement actions the Bureau is pursuing, that the matters are staffed, and to operate, I
need a list of all Enforcement staff who are not subjectto the RlF. And, to the extent that
people will be losing access to the system anytime soon, I ask that at least one member of
each pending litigation have their administrative leave delayed so we can make an orderly plan
for transitioning those matters and ensuring there are attorneys who can appear in the
litigation. I'm also concerned because, based on what I'm hearing from my teams, our
litigation support and front office positions were all eliminated, which would seriously
interfere with our ability to do our work, including intaking document and data productions,
protecting and preseNing data, conducting investigations, analyzing the financial condition of
the subjects of our investigations, procuring resources (e.g., experts), conductingtrials, and
tracking and reporting on our work, so I'm anxious to learn if any of those staff remain.

Thankyou,
Cara




                                                                                                   CFPB_00191
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From:           MartinezMam(q::PB)
To:             Paoletta, Mark {Oetailee}{CFPB};Shapiro,Daniel {Detailee}
Cc,             DorfmanYrtpna (Qet.ilee)
Subject:        FW: Requestfor 90 Day Con1) Area Warier and 30 Day Exception
O;,,tc1         Thuf'5doy,April 17, 2025 9;2.2;05 AM
Attachments:    Tt:em
                    3 HiebI evelOm Chart• 1100:rtesi
                                                 1 26 pdf
                CfP8 ,o-ddy COmpetiiN@ Ale .. Wc1lll'e<.(Xtf
                CfPRBem,esting                                                  osff
                               ilD fxrepijm to the 60 Pay BIEt,bl;jfjgtipn Period



Good morning.

Quick update. \Ve did receive an email response from OPM last night confirming
their approval of our competitive levels, but they denied a 30-day notification period
so it will remain at 60 days.

My team was up throughout the night validating the data, testing our systems, and
doing quality control. The notices are set to start going out shortly and will be sent
out in batches, which will help ensure that our systems do not crash. My two
employees issuing the notices have called in Gavin as this process starts and they will
work together throughout this process. Gavin did review the final package template
and provided feedback for consistency. Notices will be sent to work emails and
personal emails if we have them on file. Computer access will be removed at 6:oo
EST today and then employees will be placed on ad.min leave for the duration of the
60-day window.

I willbe providing you with a list of HR/OPS staff later today who will not
immediately be put on admii1 leave as we need them to continue executing. The list
will also go to Gavin, Security, and IT, so their accesses are not turned off. 111also be
meeting with several ofmy leads shortly after 9:00 to bring them up to speed. So far
only a few people in HR working on this have been aware.

I'll keep you posted.

Adam

Adam


Adam Martinez
ChiefOperating Officer

From: Peters, Noah <Noah.Peters@opm.gov>
Sent: Wednesday, April 16, 2025 8:46 PM
To: Kliger, Gavin (Cf PB) <Gavin.Kliger@cfpb.gov>; Mahoney, Michael J <Mike.Mahoney@opm.gov>;
WPlntake <WP1ntake@opm.gov>;           Holden, Kimberly A.<Kimberly.Holden@opm.gov>
Cc: Lewin, Jeremy <Jeremy.Lewin@cfpb.gov>; Martinez, Adam (CFPB)<Adam.Martinez@cfpb.gov>
Subject: RE: Request for 90 Day Comp Area Waiver and 30 Day Exception


Gavin,


                                                                                             CFPB_00193
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As discussed, the 90 day competitive area waiver is approved. A formal approval will come
from WPIshortly. The request for a 30 day notice period is denied.

Best,


Noah

From:Kliger, Gavin (Cf PB) <Gavin Kliger@cfpb gov>
Sent: Wednesday, April 16, 2025 11:20 AM
To: Mahoney, Michael J <Mike Mahoney@opm gov>: WPlntake <WPlntake@opm gov>; Holden,
Kimberly A. <Kimberly.Holden@opm.gov>
Cc: Peters, Noah <Noah.Peters@opm.gov>;      Lewin 1 Jeremy <Jeremy.Lewin@cfob.gov>; Martinez,
Adam (CFPB) <Adam Martinez@dph gQY>
Subject:Re: Request for 90 Day Comp Area Waiver and 30 Day Exception




I   ~omepeoplewhoreceivedthismessagedon'toftengetemailfromgn'IDkligff@ctphgov lt-arnwhythisis
    ID1portant

Hello Michael and Kimberly,


This review is the highest priority review for today. Please call me to discuss at 202-407-
2953.


Gavin Kliger

From:Martinez, Adam (Cf PB)<Adam                  gov>
Sent:Tuesday, April 15, 2025 8:56:47 PM
To: Mahoney, Michael J <Mike Mahooey@opro gov>: wpjntake@opm gov <wpintake@opm goy;,
Cc: Peters, Noah <Noah.Peters@opm.gov>; Lewin, Jeremy <Jeremy.Lewin@cfpb.gov>; Kliger, Gavin
{CFPB)<Gavin.Kliger@cfpb.gov>
Subjoct: Request for 90 Day Comp Area Waiver and 30 Day Exception


Good evening, Michael -

Attached is a new request for the Consumer Financial Protection Bureau. The
February 2025 approved plan was not implemented.

Attached
CFPB 90-day Competitive Area ,vaiver
High Level Org Chart
CFPB Request for an Exception to the 6o Day RIP Notification Period

Thank you for your review and approval.



                                                                                         CFPB_00194
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Adam

Adam MartiJ1ez
ChiefOperating Officer
ConsumerFiuaucialProtection Bureau




                                                                 CFPB_00195
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From:           PaolettaMedeCP=:t:aileeXCEPBl
To:             Martinez,.Adam {CFPB);Shapiro,Daniel{Detailee)
Subject,        RE:fin;ilnumbers
Date:           Tuesday,.April 15, 202S 6:53:37 PM
                Copy d Ek.,~ .. u Wid~ ~udion  Sc:oi<1rio - 04152025 650pm.,d,-x.




From: Martinez, Adam (Cf PB)<Adam.Martinez@cfpb.gov>
Sent: Tuesday, April 15, 2025 6:51 PM
To: Paoletta, Mark (Oetailee)(CFPB)<Mark.Paoletta@cfpb.gov>; Shapiro, Daniel (Detailee)
<Oaniel.Shapiro@cfpb.gov>
Subject: final numbers


Could you send me the final numbers (spreadsheet) so I can enter them into the
letters that need to go to OPMfor approval? This sets the competitive areas. I think
Mark was in the process of sending to me.

Thank you.




                                                                                              CFPB_00249
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                   EXHIBIT 50
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From:          MartinezMam (CfPR)
To:            Paoletta, Mark {OetaileeXCFPB};Shapiro,Danlel {Detailee}
Cc,            Qnrfn,an Virt;nria{ Debi11=••~)
Subject,       Updated Info
Oetc;          T~y,     April 15, 202.5          AM
Attachments:   Ruceai,
                    WideBes:t,rtioo
                                 Scenario          '8am xtx
                                        • 0415202511


Attached is the updated data. I'm working with my team to breakdown some of the
suboffices more, but you have the main numbers here.

Adam Martinez
ChiefOperating Officer




                                                                                          CFPB_00352
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                  M:artinez,.
                          Adam{CFPB)
To,               P<:tolstm,M.3,,k (Dct.,,ilf:'CXa:P8}1 Sl-wopiro,~n.id   {Oc.boilee}
Cc,               Dorfman,Victoria(Deta.ilee)
5ubje¢            RE:   JOb
                          codes   for   re'\l1E"N
                                                and   approval


 Date,            Thursday, April V, 2025 6c14c25PM
Attadlme11ts:     Retertion List 4·17 5.00.xlsx


Attached is a friendly list to review. A couple of things to flag.

      • Some of the names on the list are DRP, have submitted their resignations
        (which is happening in real time), and/ or will be retiring. This means, as they
        drop off, other employees who have the next highest score will be moved up and
        could cause a chain reaction.
      • We are three positions off, but we are reconciling it. I apologize. My team doing
        all of the number/name crunching are rwming on low fuel and have not slept
        for a couple of days. They also happen to be RIFmg themselves.
      • Employees who received RIF notices have an opportunity to review their data.
        If there are issues, they will have the ability to update their information, and it
        may lead to them bumping someone who was originally retained.

More to follow, but at least wanted to get this off to you asap.

From: Paoletta, Mark (Detailee)(CFPB) <Mark.Paoletta@cfpb.gov>
Sent Thursday, April 17, 2025 2:32 PM
To: Martinez, Adam (CFPB)<Adam.Martinez@cfpb.gov>; Shapiro, Daniel (Detailee)
<Daniel.Shapiro@cfpb.gov>
subject: Re: job codes for review and approval


Thanks!



From: Martinez, Adam (CFPB)<Adam Martjnez@cfpb gov>
Sent Thursday, April 17, 2025 2:31:33 PM
To, Paoletta, Mark (Detailee)(CFPB} <Mad< paoletta@cfph                         gov;>; Shapiro, Daniel (Detailee)
<Daniel
      Shaoico@cfob
                eoy>
Subject: RE:job codes for review and approval


I'm confirming that I'm having my team pull the retained employees (by name,
division, office) plus the unique 7 positions so it mirrors the pivot table.



Adam Martinez
ChiefOperating      Officer




                                                                                                               CFPB_00657
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 From: Paoletta, Mark (Detallee)(CFPB)<Mark.Pao•etta@cfpb.gov>
 Sent: Thursday, April 17, 2025 2:28 PM
 To: Martinez, Adam (CFPB)<Adam.Martinez@cfpb.gov>; Shapiro, Daniel (Detailee)
 <Daniel.Shapiro@cfpb.gov>
 subject:FW: job codes for review and approval




 From: Kliger, Gavin (CFPB) <Gavin.Kliper@cfpb.gov>
 Sent: Thursday, April 17, 2025 2:24 PM
 To: Paoletta, Mark (Detailee)(CFPB)<Mark.Paoletta@cfpb.gov>
 subject:Re: job codes for review and approval


 Please see attached for personnel retained. See RetentionRunforreleased                   employees,
 and Retention Retain for retained employees.           Per discussion,   the difference    in count is
 likely due to unfilled positions,   but will verify.


 Gavin
 From: Paoletta, Mark (Detailee)(CFPB) <Mark.Paoletta@cfpb.goV>
 Date: Thursday,April 17. 2025 at 2:19 PM
 To: Kliger,Gavin (CFPB) <Gavin.Kliger@cfpb.gov>
 Subject: FW:job codes for review and approval




 From: Martinez, Adam (CFPB) <:Adam Martinez@cfph gov>
 Sent: Wednesday, April 16, 2025 4:50 PM
 To: Paoletta, Mark (Detailee)(CFPB)<Mark Paoletta@dpb gov>; Shapiro, Daniel (0etailee)
 <DanielSbapiro@cfpb
                  gov>
 cc: Dorfman,Victoria(oetailee) <\/ictocJa
                                         oorfman@c(pb gov>
 subject: RE:job codes for review and approval


 Received. Thank you.

 Adam Martinez
 Chief Operating Officer

 From: Paoletta, Mark (Detailee)(CFPB)<Mark Pao•etta@dpb gov>
 Sent: Wednesday, April 16, 2025 4:46 PM
 To: Martinez, Adam (CFPB) <AdamMartinez@cfpb gov>; Shapiro, Daniel (Detailee)
 <Daniel
       Shaoiro@cfob
                 eov>
 Cc: Dorfman, Victoria (Detailee) <)/jctorja Doriman@cfpb gov>
 subject:RE:job codes for review and approval


                                                                                            CFPB_00658
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Adam,


We approve the retention numbers set forth in this Excel spreadsheet.


Thanks foryourwork    on this.


 MarK


 From: Martinez, Adam (CFPB) <Adam.Mart:inez@cfpb.gov>
Sent: Wednesday, April 16, 2025 4:29 PM
To: Paoletta, Mark (Detailee)(CFPB)<lv1ark.Paoletta@cfpb.gov>; Shapiro, Daniel (Oetailee)
<Oaniel.Shapiro@cfpb.goV>
cc: Dorfman, Victoria (Detallee) <Vlctona.Dorfman@cfpb.goV>
Subject: RE: job codos for review and approval


Thank you, Daniel for catching the pivot table issue.

    • OFLEO AD has been fixed and shows in the correct box
    • Senior Advisor has been fixed and shows under Private Sector

As you pointed out, Daniel, we used the Southeast Region to pull the examiner
population because it encumbers Washington, DC and the cost of living is
significantly lower for most of these employees. This would be a better locality pay
outcome. We also chose it because of its proximity to multiple economical airports
 include Atlanta and the office was staff up the most. This allows us to abolish the
 other three regions preventing additional work based on the competitive area.

Adam Martinez
 ChiefOperating Officer

 From:Martinez, Adam (CFPB)
Sent: Wednesday, April 16, 2025 3:26 PM
To: Paoletta, Mark (Detailee) <Mark Paoletta@cfph eov>; Shapiro, Daniel (Detailee)
<daniel.shapiro@cfpb.goV>
Cc: Dorfman, Victoria (Oetailee) <Victoria.Oorfman@cfpb.goV>
Subject: job codes for review and approval


 Mark/Daniel -

We just finished the tedious task of going through all the positions to make sense of
what specific positions to retain we can be overlayed in our register. We have to use
the job codes to convert to the competitive levels, which triggers the bump and
retreat.



                                                                                      CFPB_00659
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Based on our discussion yesterday, we went through and tagged positions and
reconciled them to 208. It's actually going to 207 because the Director is not counted
in the register.

Please take a look at the master pivot table ("Employee Counts") to see the
distribution consistent with your approved list from last night. The only difference is
that you will see a small bump up in the Legal Division's Law and Policy team. The
bump up is to keep attorneys to help with litigation, which gets us to the 17 approved.
We can only retain filled positions.

The tab "Position Retention" gives you the positions we labelled essential for
retention. These equal of up 207 and you can see what positions would be retained in
the register.

My team is current using the codes to update the register. Once we receive your
feedback, we will make any necessary changes at that time.

Adam




                                                                              CFPB_00660
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     Case 1:25-cv-00381-ABJ                                                        Document 137-1                          Filed 04/28/25           Page 45 of 169




N~    ®DiPalma, Nikki,oJacob,             Roland,®Kliger,            Gavin, +4,:?           Chat       Shared   (±l                                  •ill· Meetnow   v   &\7   ...   (3)


                           80    DiPalma. Nikki (CFPBJadded Ajayi. Tosin (CFPB)aod Thompson. Jennifer (CFPBJto the chat.

                           (h    Thursday8:57AM call started

                           80    DiPalma. Nikki (CFPB)added Quintarelli, Caroline (CFPBJto the chat.

                                 Quintarelli,carolioe {CFPB) Thursday 9:03 AM

                                    I was here. I didn't hear the phone ring.


                                                                                                                                        Thursday9:04AM

                                                                                                                                            calling now

                           80    Thompson, Jennifer (Cf PB)addedKliger, GaVln(Cf PB)to the chat

                           80    Thompson. Jennifer (CFPB)added Jacob, Roland(CFPB)to the chat

                                 Thompson, Jennifer (CFPB) Thursday 9:16AM

                                    Ol::K..E.[Qjects- Notification   Tracker

                                 Quintarelli,carolioe {CFPB) Thursday 1():04AM

                                    brb

                                 Kliger, Gavin (CFPB) Thursday 10:23 AM

                           GK®      Keep batch number

                                 Quintarelli.Garolioe(CFPB) Thursday 10:24AM

                                    We have a last minute change. We need to remove Sean Ward once we get this tested.

                                 Kliger, Gavin (CFPB) Thursday 10:25AM

                           GK       Keep topcount at 2
                            0
                                 Qumtarell1,
                                           caroboe{CFPB) Thursday 10:29AM

                                    OK will send

                                    Final Retention Register 4-16-25-xlsx




                                FinalRetentionRegister4· 16·25.xlsx

                                          Final Retention.Register4· 16-25.xlsxc-,
                                          he> Shared_Tracking__TAS_ER_$ys0ps



                           Khger.GaVln(CFP8) Thursday 10:31 AM

                     GK®        Thanks.Within that sheet,can you identify which tabs correspondto which set of inchviduals?

                           Quintarelli. carohne (CFPB) Thursday 10.32AM

                 "              RetentionRunis what we are using.lt containsall peoplewe will RIF



                                '
                           Thompson. Jem1fer (Cf PB) Thursday 10'.40AM

                                can you hear me

                                I think my powerjust went out

                           Quintareth, carohne (CFPB) Thursday 11:23AM

                 di. MissingPayPlan,Grade,RetentKm_Group_1
                     ~o    DiPalma,Nikki (CFPB)added Martinez, Adam (CfPB) to the chat

                           Qu1ntareth,carohne (CFPB) Thursday 11:54AM
                                                                                                                                         1
                                Thisis where the final docs from the mail mergeget stored:https·//bcfp365shareoomtcom/sites/hc·ler/Notices
                                sortFietd-Modified&isAscend1ng-talse&viewid-f9bb4bc2%2Pf95a%2D482e%2Pa81b%2Pa8e3ae52faOd&newTar~
                                ttos%3A%2E%2Fbcfo365%2Eshareoo,ot%2Ecom%2Es1tes%2Ehc%2Pler%2FNotices

                                here'swherethe templatesare stored

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                                1d=%2Es1tes%2Ehc:%2Dler%2ENotices%2Eiemolate&v1ewtd=f9bb4bc2%2Pf95a%2D482e%2Pa8lb%2Pa8e3ae52faOd&oewTar
                                getl istlJrl=https%3A%2F%2Fbcfo365%2fsharepoint%2Ecom%2Fsites%2Fhc%2Dter%2FNotices

                           Qu1ntarefh,carohne (CFP8) Thursday 12:04 PM




                                                                                                                                                                 CFPB_00805
     Case 1:25-cv-00381-ABJ                                                                                            Document 137-1                                                                Filed 04/28/25                                    Page 46 of 169




N~   @DiPalma,     Nikki,oJacob,                                  Roland,®Kliger,                                                       Gavin,           +4               t:J Chat              Shared   (±)

                                                      totally agree!

                                                      OK. I am looking for crazy data



                                             Kliger, Gavin (CFPB) Thursday 12:10 PM

                                 G~                   Dropping to go heads down on the backup plan - please call me direct if needed. Thanks all.

                                                      6
                                             Quintarelli, caroline (CFPB) Thursday 12:33 PM

                                                      brb

                                             Quintarelli, Caroline {CFPB) Thursday 12:57 PM

                                                      I need to let my dog out.

                                             Thompson, Jennifer (CfPB) Thursday 12:58 PM

                                                      items(' Apply_to_each')?('FuII_Part']

                                                      items('Apply_to_each')?['Pay_Plan_Cd']

                                             Quintarelli, caroline (CFPB) Thursday 1:09 PM

                                                      back

                                             Thompson, Jennifer {Cf PB) Thursday 1:21 PM



                                                      Ryan.McDonald@dhs.gov

                                                      OHC Projects - Notification Tracker

                                             Quintarelli, Caroline (CFPB) Thursday 1:29 PM

                                             Please be 00.vi~edthat you will re1ain access to wort systems. including email and internal
                                             plalfom1l>until 6:00 P.M~tern Time. un 4/1 Sf.2025.Afil"r lhat time sy!!.tcmat't.'.c~ will bt.·
                                             di~ntinued. and you will he placed in an adminisuative leave stnrus thmugh ynut official
                                             separation date as outlined above.


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                  NO       brn
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                 Q         l,h




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Case 1:25-cv-00381-ABJ                   Document 137-1          Filed 04/28/25   Page 48 of 169



From:          MartinezMam (CfPB)
To:            Thompson, Jennifer {CfPB}
Cc,            QiP.:ilm;:iNiklri (CfPR)~ Klig""' Ga'-in (g:PR)
Subject:       access approval
               S..tur-doy,-Af,ril 12, 2025 6: 17;36 PM



HiJen-

This is approval to share the environment admin role for OPS HC - Prod with Gavin
Kliger, Senior Advisor to the Acting Director. He will need access to create, delete,
modify, and grant access to flows related to Human Capital.

Please let me know if you have any questions. Thank you.

Adam

Adam Martinez
Chief Operating Officer




                                                                                       CFPB_01046
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                   EXHIBIT 54
                                        Case 1:25-cv-00381-ABJ                                       Document 137-1                        Filed 04/28/25                         Page 50 of 169




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                   EXHIBIT 55
Case 1:25-cv-00381-ABJ                      Document 137-1                 Filed 04/28/25   Page 52 of 169




 From:                ThgnJ><mJemf..- (CFP8l
 To•                  Kliger. GaWl"I(ewe)
 Cc:                  OiPaffla, N.kki (CFPB);LewW'I,
                                                   Jeremy; Mal'Ulez, .odam(CFPB)
                      RE: JnfoShanng
                      Sunday,April 13, 2025 5:15:39 PM
                      image(l(ll.png



 Good afternoon Gavin,


 You should have access to the Power Automate flows that we have used in the past to do our mass
 mail notifications of terminations, reinstatements and the flow we prepared for the RIF back in Feb
 !ER create ana sena PDF notices for 1st wave notices!. I atso snarea tne now I startea ror tnis
 current RIF/ER Create and send PDF notices for RIF notification 4-13-2025) and sharedco-
 ownership.


 These are two document libraries that are used in the flows:
       •   Notices -Contains a folder with all the templates referenced in the last RIF letters, we are
           using them again, and the ifl Current draft of the RIFletter
       • Shared Track.Ing:TAS. ER, SysOps- site where the reference file is kept for the RIFnotices and
           other trackers, this is referenced in the first step of the FLO
       • One note, the flow will need to be updated so that the emails come from a different mailbox,
           we are setting you up with access to CFPB OHC General@cfpb.gov and that request has
           been made to T&I and I believe taken care of in the last 30 minutes but sometimes being
           added to a new mailbox takes a little time to show up when you go to add itto your OWA
           or configure it in your desktop so you might have to give it a little time.



 Reach out if you have any question, I will do my best to provide context on something if I can.


 Best Wishes,


 JenniferThompson
 HC Systems Consultant
 HR Data lnslgnts ana Solutions (HRDIS) I Office of Human Capital
 C: (202)374-5615



 Consumer Financial Protection Bureau
 coosumerfinancegov


 Confidentiality
               Notice: Ifyoureceivedthisemailbymistake~youshouldnotifyrhesanderof the mistakeand deletethe
 e-mailand anyattachments.An ioodvertentdiscJosureis not intendedto waiveanyprivileges.




                                                                                                CFPB_01345
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From:               bcob Boland{CEPA)
To:                 Martinez.1 Adam {CFPB); OiP.ilma,Nikki{CFPB)
c.,,                T~denfhenz.-.r{CFPR)
Subject:            Retenti:>nList
                    Tiiu~,    Apri117, 2025 5:15:32 PM
Attachme.nts:       ReteomnI ist 4-JZ 5 onxis


                                                           CUI


HiAdam,

I reran the retention list as you requested with Office lnctuaed. I atso aadea those three DRPs In that
leadership was looking for (as well as the Director). This brings it to 205, though we still need to do a
thorough sweep. You will see some in the notes column note "review". These are Enforcement
attorneys which we need to verify the ordering of (you can feel free to drop this note but I wanted to
flag for your awareness). Ebenzerand I will do that, as well as complete the 100% review. We expect
that with challenges and data reviews, some of these designations will be changing in the coming
days/weeks. Hopefully this takes care of what you need, but please let me know if not.

V/R
Roland Jacob
Human capital Operations Manager
Systems and Operations I Office of Human Capital
Office: (202) 435-9625 I Mobile: (202) 573-3701

Consumer Financial Protection Bureau
consumerfinance
              gov
Confidentiality Notice: If you received this em.;J by mistake, you should notify the sender of the mistake and delete
the emailandanyattachments.An inadvertentdiscbsureis not intendedto waiveanyprivileges.



This message was secured by ZixCorp@.
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                                                                                                       CFPB_01489
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 Fron:             Thompson.J,ennifer
                                    ( CFPB}
 To,               0-.ilbert:, O,,ri;:t,opher {O:PO)i McQ,rty. Thomo.$   {a:Pe}1 Gikhmt;. Jcoeph {a:P8}1 Eh$Ml, M',.::in {O:P8}1
                   K..ty:{a=PB}
                   FW;          opprovol
                   Satu:day,April12, 2025 5:20:00 PM


 Gooa arternoon,


 Would it be possible to complete this access as soon as possible for Gavin? Thanks!

 Best Wishes,
 Jenn
 From: Martinez, Adam {CFPB)<Adam.Martinez@cfpb.gov>
 Sent: Saturday, April 12, 2025 5:18 PM
 To: Thompson, Jennifer (CFPB)<Jennifer.Thompson@cfpb.gov>
 Cc: OiPaima, Nikki (CFPB}<Nikki.DiPalma@cfpb.gov>; Kliger, Gavin (CFPB}<Gavin.Kliger@cfpb.gov>
 Subject: access approval

 Hi Jen-

 This is approval to share the environment admin role for OPS HC - Prod with Gavin
 Kliger, Senior Advisor to the Acting Director. He will need access to create, delete,
 modify, and grant access to flow-srelated to Human Capital.

 Please let me know if you have any questions. Thank you.

 Adam

 Adam Martinez
 ChiefOperating Officer




                                                                                                                        CFPB_02107
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                   EXHIBIT 58
Case 1:25-cv-00381-ABJ                        Document 137-1                    Filed 04/28/25                  Page 58 of 169




  From:           MpttirrzAdgm(g=pB}
  To:                                              1-lfnar {('fPR}- Paobtt.l Mf,rlc
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                               a<.hleys.hoof:llf@dooe.@00,ooy;f.teyen.m.ditvis@d9oe.f!CO   QQ"-If;Wi) Jer~my;Klffl (j.,:y1n(Q-Pffi·
                                fCFPB\
                  Nbrrt Clxistrnher
  Cc:             Bjslpp l.Jnrrs(qpQ)
  Sublett         RE:CFPBRlFWork
  Dote,           Sordoy,lj)ril U, 20252:37:00PM


  Thankyot1. Receivedand our OperationsTeamwillstru.tprovidingtbe
  items/accessesbelowto the identifiedcolleagues.
  Adam Martinez
  CbiefOperatingOfficer

  From:Vought, Russell(C.FPBI
                           <Russell.Vought@cfpb.gov>
  S•nt: Sunday, April 13, 2025 2:30 PM
  To: Martinez, Adam(CFPB)<Adam.Martinez@cfpb.gov:>;Gueye,Jafnar{CfPB)
  <Ngagne.Gueye@cfpb.sov>; Paoletta,Mark (CFPB)
                                              <Mark.Paoletta@cfpb.gov>;    Shapiro,Daniel
  {CFPB)<Daniel.Shapiro@cfpb.gov>;
                                 Dorfman,Victoria (Oetailee)<Victoria.Dorfman@cfpb.gov>;
  ashley.s.boizelle@do3e.eop.&ov; steven.m.davis@do3e.eop.eo\l;                       Lewin, Jeremy
  <Jeremy.Lewin@cfpb.gov>; Kliger,Gavin(CFPB)<Gavin.Kliger@cfpb.gov>;
                                                                   Chilbert,Christopher
  {CfPB)<Christopher.Chilbert@cfpb.gov>
  Cc: Bishop,James(CFPB)<.James.Bishop@cfpb.gov>
  Subject: CFPBRIF Work




                                                                                                                          CFPB_02391
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  Get OutlooktorMac




                                                               CFPB_02392
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                   EXHIBIT 59
Case 1:25-cv-00381-ABJ                  Document 137-1                   Filed 04/28/25   Page 61 of 169



From:           PaolettaMeckCP=:1:aik:eXCEPBl
To:             Martinez,.Adam {CFPB);Shapiro,Daniel(Detailee)
s..b.iecb       RE: fin;il numbers
Date:           Tuesday,.April 15, 2025 6:53:37 PM
Attoc;hP1cub:   Ct,oy d Bun=,ou Wid~ Reduction Scaiorio - 04152025   650pm.itbx.




From: Martinez, Adam {Cf PB)<Adam.Martinez@cfpb.gov>
Sent: Tuesday, April 15, 2025 6:51 PM
To: Paoletta, Mark (Oetailee)(CFPB)<Mark.Paoletta@cfpb.gov>; Shapiro, Daniel (Oetailee)
<Oaniel.Shapiro@cfpb.gov>
Subject: final numbers


Could you send me the final numbers (spreadsheet) so I can enter them into the
letters that need to go to OPM for approval? This sets the competitive areas. I think
Mark was in the process of sending to me.

Thank you.




                                                                                              CFPB_02567
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Case 1:25-cv-00381-ABJ                       Document 137-1                Filed 04/28/25                Page 63 of 169



From:             McOmo JuliaCo=PB)
To:               Martin.-z. Adam (CFPB}: Dil>alma, Nikki (CFJlB}; Sb'ong 1 Liza (CFPB}: Jacob, Roland (CFPB}
Subject:          RE: a.JI - Confidential - Pre-decisOnal • Taroeted Reductions
Date.:            Tuescby,. April 15, 2025 1:53:15 PM
                       .....u:.ctlion Afb::r RtF 04152025,dou
                  6!1ceau
                        WideRMlrtion Sreoarin• 04152925149nmxkx
sens1nv1ty:       conndenaal



RevisedTarget sheet and notes on proposed reorganizationpost-RIF as discussed this afternoon.

From: McClung, Julia (CFPB)
Sent: Tuesday, April 15, 2025 11:31 AM
To: Martinez, Adam (CFPB)<Adam.Martinez@cfpb.gov>; DiPalma, Nikki (CFPB)
<Nikki.DiPalma@cfpb.gov>
Subject:RE: CUI-Confidential - Pre-decisional -Targeted Reductions
Sensitivity: Confidential


Adam and Nikki, here is the updated sheet reflecting the specified targets. Recommend you next
seek list of excepted positions and then the end state number of positions by office.

From: Martinez, Adam {Cf PB)<Adam Martioez@cfpb goy>
Sent: Monday, April 14, 2025 2:55 PM
To: McClung, Julia (CFPB)<Julia.McClung@cfpb.gov>; Di Palma, Nikki (CFPB)
<Nikki.DiPalma@cfpb.gov>
Subject:RE: CUI-Confidential - Pre-decisional - Return to FY12Allocations
Sensitivity: Confidential


TI1isis outstanding. I'm shocked by how close we were with all of it, including the
rough size of OPS.

TI1ankyou so much for doing this. I'm going to send over now so they can use it as
they make their decisions.

Great job, Julia!

Adam Martinez
Chief Operating Officer


From: McClung, Julia (CFPB)<lulia.McClung@cfpb.goV>
Sent: Monday, April 14, 2025 1:58 PM
To: Martinez, Adam {CFPB)<Adam Martioez@cfpb gO\/>;DiPalma, Nikki (CFPB)
<Nikki PiPalma@cfpb goV>
Subject:CUI - Confidential - Pre-decisional - Return to FY12Allocations
lmpomonce: High
Sensitivity: Confidential


Adam and Nikki, I have attached a bureau-wide headcount allocation reduction scenario which
reruros us to the acrual ouboard at Ille end of FY12. Figures and change mettics are presented by


                                                                                                                CFPB_02610
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Division. I assume that office level allocations will be developed later based on leadership
discussions about which positions are necessruy to fulfill statutory duties and support the smaller
workforce within the constraints of a lower allocation for each division. I have also included a tab
which reflects the summary from the Ending FYI 2 Onboard Report with a few notes on "'-bat got
remapped where based on subsequent reorganizations.

Call with questions. Thanks, Julia




                                                                                         CFPB_02611
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                   EXHIBIT 61
                   Case 1:25-cv-00381-ABJ                               Document 137-1                               Filed 04/28/25                         Page 66 of 169



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                   EXHIBIT 62
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                   EXHIBIT 63
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From:             NcOmo Julia(CEPB)
To:               Martinez. Adam (CFPB); DiP.ilma, Nikki (CFPB)
Subject:          RE: OJI - Confidential • Pre-decisional • TartP-ted Reductions
Date.:            Tuesday,.April 15, 2025 11:31:00 AM
Alted11n-cob:     Bl.,r!NluWid~ ~udion    ~11c1rio • 04152025   1128om.~
Sensitiwity:      Confidential


Adam and Nikki, here is the updated shee1reflecting the specified targets. Recolll!llend you next
seek list of excepted positions and then the end state m1JD.ber
                                                             of positions by office.

From: Martinez, Adam {Cf PB)<Adam.Martinez@cfpb.gov>
Sent: Monday, April 14, 2025 2:55 PM
To: Mcclung, Julia (CFPB)<Julia.McClung@cfpb.gov>; DiPalma, Nikki (CFPB)
<Nikki.DiPalma@cfpb.gov>
Subject: RE: CUI - Confidential- Pre-decisional- Return to FY12Allocations
Sensitivity: Confidential


This is outstanding. I'm shocked by how close we were with all of it, including the
rough size of OPS.

Thank you so much for doing this. I'm going to send over now so they can use it as
they make their decisions.

Great job, Julia!

Adam Martinez
ChiefOperating Officer

From: McClung, Julia (CFPB)<lulia.McClung@cfpb.gov>
Sent: Monday, April 14, 2025 1:58 PM
To: Martinez, Adam {CFPB)<AdamMactioez@cfpb
                                          gov>:DiPalma, Nikki (CFPB)
<NikkiPiPalma@cfpb
                 gov>
Subject: CUI -Confidential - Pre-decisional - Return to FY12Allocations
Importance: High
Sensitivity: Confidential

Adam and Nikki, I have attached a bureau-wide headcmmt allocation reduction scenario which
returns us to the actual on board at the end of FY 12. Figures and change metrics are presented by
Division. I assume that office level allocations will be developed later based on leadership
discussions about which positions are necessary to fulfill statutory duties and support the smaller
workforce within the constraints of a lower alJocation for each division. I have also included a tab
whichrdlects the swnmary from lhe Ending FY12 Onboard Report with a few notes on what got
remapped where based on subsequent reorganizations.

Call with questions. Thanks, Julia




                                                                                                 CFPB_02885
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                   EXHIBIT 64
   Case 1:25-cv-00381-ABJ   Document 137-1   Filed 04/28/25   Page 72 of 169




                            April 16, 11:08 AM


              Hello Michael. Adam Martinez at~
              recently sent a set of competitive
              areas for review. This is of the highest
              priority - please ensure we review
              promptly.

              Call me if any questions.

Hi Gavin Thanks. Yes Noah forwarded
to us
CD Q


                                                                  CFPB_03680
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                   EXHIBIT 65
           Case 1:25-cv-00381-ABJ               Document 137-1        Filed 04/28/25       Page 74 of 169



Martinez, Adam (Cf PB)

Subject:                            tag up
Location:                           Microsoft Teams Meeting

Start:                              Tue 4/15/2025 12:00 PM
End:                                Tue 4/15/2025 2:00 PM

Recurrence:                         (none)

Meeting Status:                     Accepted

Organizer:                          DiPalma, Nikki (CFPB)
RequiredAttendees:                  Jacob, Roland (CFPB);Martinez, Adam (CFPB);Strong, Liza (CFPB);Mcclung, Julia (CFPB)




Microsoft           Teams          Need help?


Join the meeting now
Meeting ID: 242 445 428 321 1
Passcode: S9TX7q4X




Dial in by phone
+1 703-660-4648
              552025277#
                       United States, Alexandria
Find a local number
Phone conference ID: 552 025 277#


For organizers: Meeting options      Reset dial-in PIN




Org help    Privacy and security




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                   EXHIBIT 66
                  Case 1:25-cv-00381-ABJ            Document 137-1           Filed 04/28/25        Page 76 of 169




•
Specific Notice of RIF Template

         0 Jeremy Lewin <jlewin@usaid.gov>                                                             Saturday, April 12, 2025 at 4:os PM

         To:     ® Ma,tine?,Adam(CFPB); Cc:: 0 Kliger,Gavin(CFPB); ® Lewin,Je,emy   v


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Adam,

Please find attached an updated RIFletter template for tomorrow's planned personnel actions. Let me know of any questions
or concerns.

We will need to pull the requisite information to accurately fill in this information for the employees in the competitive areas
approved by OPM, and mail merge with the required Title 5 supporting information packet (which we have as a consolidated
single PDF).

Once we have the full roster, Director Vought's team and I will conduct an individualized assessment to, consistent with the
DC Circuit's stay, ensure that only non-statutory positions are affected.

In addition, what is the status of the probationary employees?

Thank you,
Jeremy




Sensitive But Unclassified (SBU)




                                                                                                           CFPB_03627
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•
FW: Documents • Notices

         0 Lewin, Jeremy <Jeremy.Lewin@cfpb.gov>                                                            Saturday, April 12, 2025 at 2:51 PM

         To:   0 Kliger,Gavin (CFPB); GaV"inKllge(; Je(emy Lewin; zachary.terrell@hhs.gov

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          Download All •   Preview AU




From: Lewin, Jeremy <Jeremy.Lewin@cmb.gov>
Date: Friday, April 11, 2025 at 10:25 PM
To: =hruY,terrell@bbs,gqy <zachary,terrell@h~gQY>, alexandra, beY.112Il@~gQY<alexandra,bey!lQO@~QY>
Subject: FW: Documen1s - Notices




From: Martinez, Adam (CFPB)<Adam Martjnez@ct1212.gQY>
Date: Friday, February 14, 2025 at 7:37 PM
To: Young, Christopher (CFPB)<Christopher.Young2@cfpb.gov>, Lewin, Jeremy <Jeremy.Lewin@cfpb.gm!>, Wick, Jordon
(CFPB) <Jordon,Wjck@i,f  P-Q,gQY>
Subject: Documents• Notices

Hi team - it's me again.

I did want to provide you all with a couple of documents FYSAso we are all on the same page.

   1. List of employees to receive notices - If you could take a quick look and let me if any section is included that should
      not be. - NOTE: I took out any sensitive data including the data points for the notices.
   2. Notice Template - We are confirming with OPM, but it's possible 1 do not need to sign and it can simply come from
      the Office of Human Capital
   3. The approved 90 Comp Area rule letter
   4. The approved exception to the 60 day notice rule letter
   5. Our official request setting the Phase 1 competitive areas.

Adam

Adam Martinez
ChiefOperating Officer




                                                                                                               CFPB_03628
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CFPB Draft Email

         ® Jeremy Lewin <jlewin@usaid.gov>                                                               Saturday, April 12, 2025 at 2:35PM

•        To:   Vought, Russell T. EOP/OMB; Paoletta, Mark R. EOP/OMB; Cc:                      0 Kliger,Gavin(Cf PB); +5 morev
                                                                            chris.young@cfpb.gov;




.....
As discussed, this is the request we need to CFPB staff .


To: Chris Chilbert lchrjstopher,chjlbert@clw2,gQJ1), Adam Martinez ladam.martjnez.@d.P.Al!QX),Jafnar Gueye
w~gnuu.e.xru§l.Qfru2,gQl£J

Please grant Jeremy Lewin, Gavin Kliger, Luke Farritor, and Jordan Wick full global administrative access to both Active
Directory/ Microsoft Entra and HR Connect. If any of their email or other accounts have been disabled, please ensure that
they are reactivated and that they have full access to Bureau systems and communications.

Adam and Jafnar: please send these people four 11)all of the information from the first planned RIFaction, including the
populated RIF letters, employee roster and employee information, template letters, and supporting information, 12)the
updated contract spreadsheet, with the detail on claimed statutory requirements, and 13)the current status of any Bureau
probationary employees.

In addition, please give these four people any additional information or permissions that they may need, including additional
systems access or supporting information regarding Bureau personnel or contractual obligations.




Sensitive But Unclassified ISBU)




                                                                                                            CFPB_03629
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                                                               CFPB_03634
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•
Info Sharing

           0 Martinez, Adam (CFPB) <Adam.Martinez@cfpb.gov>                                                                S<Jnday,April 13, 2025 at 3:25 PM

           To,   0 Thompson, Jennifer (CFPB); Cc, 0 DiPalma, Nikki (CFPB); 0 Kliger, Gavin (CFPB); 0 Lewin, Jeremy                   v


                  RE:Specific Notice o... .,.   lift== CFPBSpecific Notic...   ...   m,r   reinstatedlist 4-12-...   .,. +1 more v
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            DownloadAll



Hi Jenn-

Our Acting Director has approved us providing full access to the information below. Based on the information I provided to you
yesterday, could you send the updates to the attached RIF template? Could you 1) provide full accesses to the systems below
minus HR Insights (Gavin has access) and 2) the Power Bl attachments listed below.

As I understand, you have already made updates to the mail merge in Power Automate so it may make sense for Gavin to
contact you or you him, walk him through all changes made so it makes it easier on him to finish it up. You will be providing
him with rights, so he has ownership.

Gavin/Jeremy- Let me know if I missed anything. Thank you.

§v.stemAccess ApJ!roved
HR Insights- Treasury BFS/ARChas granted
Power Bl
OPS HC- Prod Power Automate environment
~-QJ:iQ..       General@cfo.12,gQY  mailbox (Use this to send the notices)
!l!!lls:l/bcfp365.sharepoint.com/sites/hc-ler

Flies Needed
Updated RIF List (includes notes for Retirement/Resignation but excludes the DRP Employees) (attached to this email)
Employee Reinstated List (Current Status - Probationary/Trial Period/Term - Does not include Vets, Disabled Vets, MIL
Spouses) (attached to this email)
RIFTemplate (should include the Director's Name/Title) (attached to this email)
Power Bl RIFAttachments
Attachments (8) (Provide SharePoint Link with Documents)
   1. Acknowledgement of Receipt
   2. MSPBAppeallnformation
   3. OPM Retention Regulations
   4. Severance Pay Estimate
   5. Unemployment Insurance
   6. State Workforce Programs
   7. Authorization for Release of Employment Information
   8. CTAP.ICTAPand Reemolovment Prioritv List IRPLl Pro~ram Information




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                   Case 1:25-cv-00381-ABJ                      Document 137-1                 Filed 04/28/25             Page 85 of 169




RE: Info Sharing                                                                                                                              Q)               ,+

           O Thompson, Jennifer (CFPB) <Jennifer.Thompson@cfpb.gov>                                                             Sunday,Ap<il13,2025 at 5:15PM
           To:     0 Kliger,Gavin (CFPS); Cc: 0 OiPalma,Nikki {CFPS); ® Lewin,Jeremy; @ Martinez. Adam (CFPB)                      v




Good afternoon Gavin,

You should have access to the Power Automate flows that we have used in the past to do our mass mail notifications of terminations,
reinstatements and the flow we~oared fortheRIEbackinFeb/EBCreateandsendPDEnotices              for1stWavenotices).      I also shared the
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Theseare two document Librariesthat are used in the flows:
   • ~-Contains        a folder with all the templates referenced In the last RIFletters, we are using them again, and the ~Current
      draftoftheBlf\ener
    • SharedTrackjng;TAS,~..SylQnl- site Wherethe reference file Is kept torthe RIF notices and other trackers, this Is referenced In
      the first step of the FLO
    • One note, the flow will need tobe updated so that the emails come from a different mailbox, we are setting you up with access to
      ~_Qjj_C         General@..dl2bJ!w£ and that request has been made to T&I and I believe taken care of in the last 30 minutes
      but sometimes being added to a new mailbox takes a little time to show up when you go to add it to your OWA or
      configure it in your desktop so you might have to give it a little time.


Reach out if you have any question, I will do my best to provide context on something if I can.

BestWishes,

Jennifer Thompson
HC Systems Consultant
HR Data Insights and Solutions (HRDIS)I Office of Human Capital
C: (202)374-5615



ConsumerFinancialProtectionBureau
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ConlidcntialityNotice: If you rcccivc.dthis email bymistDko,you 3houldnotify the sender of the ml$tDkcand defetc thee-mall and any DttbC.hmcnt$,
                                                                                                                                              An inadvertent
disctosureI$ not lntendectto w$iveonyp11viteges.


From: Martinez, Adam (CFPB)<Adam.Martinez@.cfQb.llQl!>
Sent: Sunday,April 13, 2025 2:25 PM
To: Thompson,Jennifer(CFPB)<lenalfetibom~.i;fllll.gl!lL>
Cc: DiPalma,Nikki (CFPB)<Njkkl,DiPalma@ctilJ2.gw,;Kliger,Gavin (Cf PBl <GaylnKligW!'.i;fllJl.gw; Lewin,Jeremy~y.J&Ytlll.@.i;fllJl.gl!lL>
Subject: Info Sharing

Hi Jenn-




                                                                                                                                  CFPB_03636
                 Case 1:25-cv-00381-ABJ                  Document 137-1               Filed 04/28/25         Page 86 of 169




•
RR - PBI

           0 Martinez, Adam (CFPB) <Adam.Martinez@cfpb.gov>                                                        Sunday, April 13, 2025 at 5:39PM

           To:   0 Thomp:;on, Jennifer (CFPB); 0 Kliger, Covin (CFPB);   Cc:   ® OiPolmo, Nikki (CFPB); 0 Lewin, Jeremy   ...,.



We have authorization to work on a retention registry. Roh Bloom had already built one in PowerBI so I'm hoping that we
can work with Jenn to identify it, so we don't have to start from scratch.

Our data is in relatively good shape; however, we were in the process of working y.,jth OPM to go through all eOPFs to
validate the data so it's as close as possible. We are only waiting for a cost estimate. What we don't know is how long it
will take OPM to confirm the data. What we were in the process of reconciling was vet preference, but we really need
OPM's help with the RIF SCD, which has to be validated through their eOPF review.

Jenn and Nikki are going to strategizeon what we need further and will verify with OPM in the morning.

Gavin - Please don't hesitate to connect with Jenn and/or Nikki. If you have any recommendations oflessons learned or
if there is any strategy preference let us know.

Adam


Adam Martinez
ChiefOperatingOfficer




                                                                                                                    CFPB_03637
                 Case 1:25-cv-00381-ABJ                    Document 137-1                Filed 04/28/25            Page 87 of 169




                                                              Press Cmd + F to find 1nthis chat
      Ouintare!!i, Caroline (CFPB> 4/12 5:46 PM

"       HiGavin
        Can I give you a call about the report access you need?



'I
      Ou1ntaret!I,
                Caroline (CFPB>4J1Z5:54 PM

        Do you have your CFPBPIV with you?

        I want to try something

        Goto b.ttps·l/dataiosigbt
                               teaosrreasur>!9m!l

        Select PIV,enter your PIN and see what happens.

                                                                                                                                        4/1:26:58 PM

                                                                                          I do not have a CFPBPIV • I do have a login.gov account

                                                                                                                                    And an ID.me

      Ouintarem,Caroline (CFPB) 4/12 5;59 PM

fl;     Do you have a CFPBcomputer?

                                                                                                                                        4/12 6.00 PM

                                                                                                                                              Yes

                               This would be the same setup that Jordan had; he worked with Patty Guzmanto get this permissions set in February.

      Ouintarelti, Caroline (Cf PB> 4/12 6.01 PM

        Yes,Jordan did have a PIV though. Adam told me you have a TreasuryPIV with a CFPBcertificate on it. If true, that will
        work just fine (I think).

        Also, Jordan worked with me in Februal)' not Pally.

                                                                                                                                        4/12 6:03 PM




                                                                                                                           CFPB_03638
                Case 1:25-cv-00381-ABJ                        Document 137-1                 Filed 04/28/25              Page 88 of 169




                                                                                                                                              4fl2 6:03 PM

                             Ok. I have a Yubikeywhich may have.a certificate; I do not think we registeredany of my PIVcards with CFPBsystems.



'I
     Qu1n1a.reUi,Ca.roline (CFPB> 4/12 6:03 PM

       OK.

       Are you accessing the CFPB network with a Yubikey?

                                                                                                                                              4/12 6:08 PM

                                                                                                                                                    Yes

                                                                             April 13

     Quinia.reli, Caroline (CFPB> 4(13 1:20 PM


'I      Hi, I was able to get that error when my PIVwasn't fully inserted properly. Can you remove it and securely reseat i1 to see
        if that fixes it?

       Close out of your browser completely too. Then restart it

                                                                                                                               • e .. Q
                               I may have gotten in working with a drfferent PIV (wflich I just tied to the CFPBemail). I can see the following reports:

                               ArchivadHBConnflct
                                                Oata89nSlll.£a1
                               CnouactnrM;ioa9.om.ont
                               ParrtntWA
                               HBBPT  Btnod Sci
                               Hi!Horis;aJ
                                       WA

                               enReoona
                               BeAOOMa~

                               SharedI ibracy~8e.QQ!1S).
                               11.MS
                               user.Utditfes

     Quint.a1elli, Ca1olJne (CFPB) 4(13 1:30 PM




                                                                                                                                 CFPB_03639
                Case 1:25-cv-00381-ABJ                            Document 137-1               Filed 04/28/25              Page 89 of 169




      Ouk1tareUI,Caroline (CFPB) 4)131:30 Pf.t

"       Perteet!

        Click on Share Library (Reports). Then search for whatever you want to search for. Last time Jordan searched 'Roster'
        and found what he wanted.

        BTW, I know you are very busy but if you could return the access form, I would really appreciate it.

                                                                                                                                                 4/13 1:33 PM

                                                      It won't load without adobe acrobat, \vtlich I don't have - can you export as a word doc and send?

      Qulntarern, caro!lne (CFPB) 4Jt3 1:35 PU

        Yes you can. I almost always select excel. Af1er you run the report, it presents results. Click export. Then select the
        format you want.

                                                                                                                                                 4)131:35PM

                                                                  To clarify - the access form you sent won't open because I do not have adobe acrobat.

      Oulnt:,rem, carollne (CFPB) 4J13 1:35 PM

-.      Ohsorry

        Let mo see what I can figure out
                                                            • ,    ..   r.,,
      OulntareUI,Caroline (CFPB) 4)13 1:48 PII   ••         W           ...SO
f!,     Hi Gavin. Jonn just reached out. Here's how you run the AlphaRoster.

                   AlphaRoster.docx


        There are several others out there too but this one has the basic fields people care about.

       00
                                                                                Apnl 17

                                                                                                                                                411710:29 AM

                                                          Can you please send me a link to the latest sheet with the list of individuals to retain/release?




                                                                                                                                   CFPB_03640
                    Case 1:25-cv-00381-ABJ                         Document 137-1                    Filed 04/28/25        Page 90 of 169




    fo   M;ntintt, Ad;)m (CFPB> .addod Thompson, J8"nH•r (CFPB> ¥Id Kliger, G;vin (CFP8) to the eh.lt,

         Martinez, Adam (CFPB) 4/12 5:15 PM

•          Hi Gavin. Jen (copied) i$ going into PBInow to try to add you and see if it works so we don't have to go through IT.

                                                                                                                                               4/12 5:16 P'A

                                                                                                                                          Grea1, thanks.

                                                                               Who can help with the HR systemaccess (so I can run the relevant repo,t)?

         Martinez, Adam (CFPB> 4/12 5:20 PM

•          Jen is going 10give you a call now re: access

           and data




                                                                                                                                  CFPB_03641
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Q Thompson, Jennifer (CFPB)                  Chat    Shared    1±)                                                                                             13)




  iJ
        Thompson, Jennifer (CFPBI 4/12 5:20 PM

          Hi Gavin do you have a minute to talk so I can get a good understanding of what you need

        Thompson, Jennifer (CFP8J 4/12 5:27 PM

  Q ~our             flowco-owoecs
                                 I Pmuer
                                       Automate

                                                                                                                                              4/12 6:15 PM

                          Jennifer, was this the correct flow? bitps•flmake          us/environments/a6f32399-8884-ee66-9db4-
                                                                          ~powerautomate
                          1zahc56a8410lflows/h44763h0-h356-4a97-88aa-a2106lZtx;e?e/details"
                          ,,tm so,,rce-ontifydesktonUmvsha
                                                       re&,rtm rnedi11m=email&
                                                                             toginTeoa
                                                                                     ot=c81Zbffi9-e14
                                                                                                    l-4edS-ac5f-1t44da3798c0

        Thompson, Jennifer (CFP81 4/12 6:16 PM
          We are adding you to a couple more of the flows that were built for noticing employees. That one was used in the 1st
          wave

                                                                                                                                              4/126116 PM

                                                                                    So this is oot the flow that is planned for use in the current wave?

        Thompson, Jennifer(CFP81 4/12 6:18 PM

         @need       to build that one once I am finished pulling reporting for the review.



                                                                                                                                              4/12 6:21 PM

                                                                                    Can you grant access to bll~tp365          sbaceooiotlsites/hc-lec?

                                                                     Assume that is the Sharepoitn site we are using to store the relevant templates.

                                                                             April 13
                                                                                                                                              4Ji3 1'.36PJ;I

                                                         Do you know the name of the report we run in HR Insight to generate the employee roster?

        Thompson, Jennifer(CFPB)4/13 1:44 PM

  c;;Q:Caroline is going to give you the name in a minute please stand by thanks




                                                                                                                                CFPB_03642
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                                                     uo   you K11vw 1ne mune   01 tllt! 1eJ,1011we ,un ,n nn   ir1s1y1u 10 gene1a1e   1ne en1(Jtoyee     1os1e1f




G
    Tt")mpson, Jennifer {CFP8) 4f131:44 PM

      Carohne Is going to give you the name in a m,nute please stand by thanks

                                                                         AprU17
                                                                                                                                                       41179'.33A\-1

                                  Can you please send a link 10 the sheet that needs to be filtered, as well as a link to the list of names to filter?



G
    Thomp$00, Jennifer (CFP8) 4f17 9:34 AM

      Ok yes we will make sure you have all the links!

     @
      working on that

                                                                                                                   Ok, •••••    II Thonks 11 Oh, ok I Q
     trvpe a message                                                                                                              ~t?©®+                      I,),,




                                                                                                                                      CFPB_03643
                Case 1:25-cv-00381-ABJ                   Document 137-1              Filed 04/28/25         Page 93 of 169




•
connect

          0 Martinez, Adam (CFPBJ<Adam.Martinez@cfpb.gov>                                                       Thursday, April 17, 2025 at 9:01 AM

          TO:   O Klige,, Gavin (CFPB); ga,;n.klige,@opm.gov;   Cc:   0 o;Palma, N;kkl (Cf PB); O Thompson, Jennife, (CFPB)   v




Hi Gavin - Jenn is going to call you on your iphone now to get you into a call as we start. Please pick up.

Adam Martinez
ChiefOperating Officer




                                                                                                                    CFPB_03644
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@poAjayi, Tosin,0DiPalma, Nikki,eJacob, Roland, +4 ,:1 Chat Shared 1±)                                                            •Ill• Meet now    v    /!o7 ...   13)



   80       Thompson, Jennifer (CfPBI added Kl get, Ga\l,n (CFPB)I
                                                                     '   Press Cmd + F to find m this chat
   fo       Thompsco, J8nnifer (CFPBJadcfed Jacob, Roland (CFPB)

            Thoml)$M, JennifQr (CFP81 4/17 9'16 AM

  iJ          OHCProiects- NohficationTracker

            Quintareli, Caroline (CFPB) 4/17 10:04 AM

              brb
        0
                                                                                                                                                   4/1710"23 AM

                                                                                                                                       Keep batch number

            Oulntarell, Caroline (CFPS) 4/1710:24 AM

  a.
  Ill,~       we have a last minute change. we need to remove Sean ward once we get this tested.

                                                                                                                                                   4/1710:25 AM

                                                                                                                                       Keep topcount at 2



  ct'l
            Quintareli, Caroline (CFP8) 4/1110:29 AM

              OKwillsend

              FinalRetentionRegister4~16-25xlsx

                       Final Retention Register 4-16-26 .... c-,          ...
                 ~..   he> Shared_T,ackillQ_TAS_ER_SysOps


                                                                                                                                                   4/17 10:31 AM

                                                             Thanks. Within that sheet, can you identify which tabs correspond to which set of individuals?

            Quintareli, C.ar011ne
                                (CFPS) 4/17 10:32 AM

  cfl:
        ·oo
              Retention Run Is what we are using. It contains all people we will RIF



            Thompson, Jennih,1,(CFPSJ 4/17 10:40 AM

  6_w c:anyou hear me




                                                                                                                                   CFPB_03645
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1-..b     can,you hear me
Yo
          I think my po\ver just went out

        Ouintarelli, Caroline (CFPB) tJ/1711:23 AM

6:1       Missing PayPlan,Grade, Retention__Group_1

 e'o    OIPalll\8, Nikki (CFPBJadded Mart!nei. Adam (CFPS) to the chat.

        Ouintarelli, Caroline (CFP8) tJ/17 11;54 AM

d)        This is where the final docs from the mail merge get stored: httns·{rtx:;fp365
                                                                                      sharepoint<:om/si1eslhc-ler/Notices?
          sortFleld=hdodifird&isAsceodiog-talsn&lirwid-f9bh4bc?%2Df9Sa%2P48?e%2Pa81h¾?Pa8e3aeS?ta0d&oewlarg~
          SlJJ.d.;.ht~ps%3A%2EY..2Fbcf.n365%2Esbacepalot•t,.?Ecarn%?Esltes%?Fbc%2Pler%2FNotioe:s

          here's 'I/here the templates are stored

          b.ll~fo365         $hareoointcom{$ife$/hc-ler{Notices?
          id=%2Esites%2Ehc¾2Pler%2ENotices%2Eiemplate&viewid:f9bb4bc2¾2Qf96a½2P4&2e¾2Da81b%?Da8e3ae52fa0d
          &newiaraetlistlJd-httns%3A%2E%2Ehcfn365%?Esbacer>oint¾2Ecom%?E
                                                                 '-ites%21=hc%2Dlet'%2ENotices


'J
        Ouintarelli, Caroline (CFPB) tJ/17 12.04 PM

          totally agree!




           •
          OK. I am looking for crazy data



                                                                                                                                             4/17 12:10 PM

                                                            Orapping to go heads down on the backup plan - please call me direct if needed. Thanks all.



        Qu,ntttrelh, CMoline (CFP8) 4/1712:33 P'A

          b,b
   0



'J
        Ou1ntarem.Caroline(CFPBJ 4/17 12:67 PM

          I need to let my dog out.




                                                                                                                                 CFPB_03646
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      fhompson, Jenn.rfer(CFPB) 4/1'/ 12:58 PM

        itoms('Apply_to_each')?('Full_Part'J

         rtems('Apply_to_each')?['PayYlan_Cd'J

      Quintatelii, Caroline (CFPB> 4/17 1:09 PM

         bac~

      Thompson, Jenn fer (CFPB) 4/17 1:21 PM


         Ryan,McDonald@dhs.gov

        OHCPrniects- NotificationTracker

      Ovint.inilli, C.irol"n9 (CFPB) 4/171·29 PM

      Plca..,cbe advi~ lluc you v.ill recalna0CClliiSIQwort llii)'SltlWI, inctU(fln:J
                                                                                   Cm3il Md intcmal
      plalfonru,wltil 6:00 PM Easl('m Tiok'. un 4,18/202S. Afi~·rlhal time ~J'),tem111.'C't'!uwill be
      d1~11tim1ed, ;uid ynu will be pbced in NI 111lm1nmnl!ivc       b,·c ~t.,tu~d1rnu,ahyour (l(f'icial
      St"pBClil101\datt a, ou1hned abo,(:.




f!
      Thompson, Jenn fer (CFPB) 4/17 1:33 P+.i

        cre.a.soedficNoticeot BIF4-17-20251.docx
                    CFPB Specific Notice of RIF 4-17- ... c-~
            -       he-~, > Templitl9


      OiPa!ma, Nikki (CFP8) 4/17 1:33 PM

ND       brb
 0
         ba~

      Thompson, Jenn fer (CFPB) 4/17 2:17 PM

ti,      TESTBIENOTICES
                      :dsx
            rt:..   TEST RIF NOTICES.xlsx                         c-:,
           Q::.ihe> Sh;i19d_T1acl:ing_TAS_EfLSvsOp$




                                                                                                                                CFPB_03647
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        Thompson, Jennifer (CFPB) 4/17 1:33 PM

Q}J CE.e.B....Spedfic
                Noticeof BIE4-17-2025l doex

             n     CFPB Specific Notice of RIF 4-17- ... c-:>
                   hc-ler > Tempi.ate


        OiPalma, 1-1kki (CFPB) 4/17 1:33 P+.1

          brb

          back



iJ
        Thompson, Jennlfe< (CFP8) 4/17 ~:17 PM

          TESTBJENOOICFS
                       xlsx

             l'I
                   TEST RIF NOTICES.xlsx             C-)
             -t-   he> Shared_Tracl:W'19_TAS_EA_Sy-sOps


        A1ayi,Tosin (CFPB) 4/17 3:13 PM

          brb

        Thompson, Jennifer (CFPB> 4/17 3:36 PM

Q}J M.a.o.ag.e...your
               flowsI PowerAutomate

        MarMez, Adam {CFPS) 4/17 3:$0 PM

•         brb

                                                                                                                                       4/17 3:57 PM


                            Flow could tlot be activated because you need a (Power Automate Premium license)(l)llw.lga m/crnsoftcnmlfwtlokt?
                            linkid=2?97915)  or other licens.ethat includes.premium connectors to save this. flow with connection: 'Word Online
                            (Business)'
                                                                                                                                                      0
    i   4/17 4:07 PM Call ended 7h 1am 42$




                                                                                                                           CFPB_03648
                    Case 1:25-cv-00381-ABJ                Document 137-1   Filed 04/28/25   Page 98 of 169




•
sample

          0 Martinez, Adam (CFPB) <Adam.Martinez@cfpb.gov>                                     Thursday, April 17,2025 at 8:05AM

          To:       0 Kliger, Gavin (CFPB); gavln.kllger@opm.gov

                     _Speciflcjlotice_of...   v
                '    135 KB

           Download • Preview



Here's a sample of tbe titling, etc.

Adam Martinez
diie.f One.rntiM OffirR.r




                                                                                                CFPB_03649
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•
FW: job codes for review and approval

          ® Martinez, Adam (CFPB) <Adam.Martinez@cfpb.gov>                                                         Thursday,April 17,2025 at 2:20 PM

          To:   0 Kliger, Gavin (CFPB)

             -- Position Retention W.,.
           El 2.4 MB                      v



            Download    •   Preview



Here's what I sent MP yesterday. Note that it's 207 but should be 208. The difference is the Director's position.

Adam Martinez
Chief Operating Officer

From: Martinez, Adam (CFPB)
Sent: Wednesday, April 16, 2025 4:50 PM
To: Paoletta, Mark (Detailee) <Mark.paoletta@cfRl!.sw; Shapiro, Daniel (Detailee) <danlel,shaplro@,cfllllJIS!lt>
Cc: Dorfman, Victoria (Detailee) <Victoria Porfman@c;fRl!.gw
Subject: RE:job codesfor review and approval

Received. Thank you.

Adam Martinez
Chief Operating Officer

From: Paoletta, Mark {Detallee)(CFP8) <Martc.paoletta@,;!Rli.ggx:,
Sent: Wednesday, April 16, 2025 4:46 PM
To: Martinez, Adam (Cf PB) <Adam.Martinez@cfpb.gov,; Shapiro, Daniel {Detailee) <Daniel.Shapiro@cfpb.gov>
Cc: Ou1(1mm1 Vidulia (Ot:"ta1ih:1:)<Vidodd.Ou1(111d11@d~KVY>
Subject: RE:job codes for review and approval

Adam,

We approve the retention numbers set forth in this Excel spreadsheet.

Thanks for your work on this.

Mark

From: Martinez, Adam (CFPBl<Adam Martjnez@cfpb,g~
Sent: Wednesday, April 16, 2025 4:29 PM
To: Paoletta, Mark (Detailee)(CFPB) <Mark.Paoletta@cfpb.gov>; Shapiro, Daniel (Detailee) <Oaniel.Shapiro@cfpb.gov>
Cc: Dorfman, Victoria (Detallee) <Vlctorla,Oorfman@c;fil.12.sw
Subject: RE:Job codes for review and approval




                                                                                                                      CFPB_03650
               Case 1:25-cv-00381-ABJ                           Document 137-1                     Filed 04/28/25           Page 100 of 169




 0Chilbert, Christop ... ,©Ehsan, Adnan,•Gilchrist, Joseph, +4                                      cf    chat   +1 1±1                Meet now    v    8o7 •• •   13)


8,   Kliger,Gavin (CFPB)edded Gi chn$1,Joseoh (CFP8) and Thompson,Jennifer (CFPB)to the <:hat.

                                                                                                                                                   4/12 5.31PM
                                                                          Hey Jennifer - can you confirm who created the relevant Power Automate flow?



'1!
     Thompson, Jennifet (CFPB) 4/12 5:32 PM

        RobBloom

                                                                                                                                                   4)12 5:32 PM

                                                                                            Joseph ftom the CIO's office is going to assist with permissions



i!
     Thoml)Son, Jennltet (CFPB) 4/12 5:32 PM

        Great would you please ask that they add me to that flow

                                                                                                                                                   4)12 5:3:zPM

                         httns•//makegQ!t.powerat
                                                ,tomateI,st'.enYimnments/aSf
                                                                        32399-8884-ee66-9db4-17abc6
                                                                                                 6a641O/tlows/shared/f
                                                                                                                   6ffi3904-
                         <:5hd-4hdfi-a9f9-1ad043787ffaIdetaiis

                                                                                                                          OPS HC - Prod is the environment



i!
     Thompson,Jennife, (CFPBI 4/12 5:33 PM

        I believe we are looking for a flow that is for sending Termif\ation Notjces though ...

        That would be the one you want to look at and I do not have access to that one but need it

& G lcMst, Joseph ICFP8) added Ch1lben, CMstopl'ler tCFPB) to ~heChat and $hared 311chat history.
fo   G lchri$t, Jos.ph ICFPB) add8<.tMet.arty, Thomas (CFPB) to the eh;,,t and sh.ired an chat histo1y.

     G ICM$1,Joseph ICFP8) 4/12 5:35 P-M

        Adding Tom al'K:tChris. we may need support from office 365 team related 10 share point

     Thom1»on, Jenni!Ct"(CFP8> 4/12 5:35 PM

        OK thanks Joe




                                                                                                                                     CFPB_03651
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    Thompson, Jeon.fer (CFPB) 4/12 5:35 Pl.t

       OK thanks Joo

    Chilben, Ctlmtopher lCFP8) 4/12 5:36 PM

      bring in Adnan Ehsan

    Gtlchlist, Joseph (CFPB) 4/12 5.45 PM

      Gavinhas been added to the EnvironmentMaker role tor OPS HC - Prod Powerapp, it is the same rights that Robert
      Bloom and Jennifer Thompsonhave

    ChilbGl'I, CtUl$lOpher {CFPS) 4f12 5·45 PM

      do you still need sharepolnt supporl?

    Gilc:h.ri~t.Jo~ph (CF"PB) 4/12 5·45 PM


0
    ··-


    Chilbert, Christopher (Cf PB) 4/12 5:46 PM

      I just texted adnan

    Gilchrist, Joseph (CFPB) 4/12 5 46 PM

      Let's have him test and see. it may not be needed

                                                                                                                                4/12 5:48 PM

                                                                                                I do not see the flows in that environment




                                                                                                                   CFPB_03652
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                                                                                                                                                     4/125;48 PM
                                                                                                                  I do not s-0etho flows in th.at environment

     Thompson, Jennifer(CFPB) 4/12s:s1 PM


i!     I think you might onty be able to see what is sl\ared with you Gavin, the environment doesnt show everyone's flow to
       everyone unless you a,e specifically added as a co•owner to each flow.

       Right now you are only added to the one flow I shared with you so that is probably the only flow visible in that
       environment to you

                                                                                                                                                     4/12s.saPM
                                                                            Got it - is there a role that lets you view all flows rega,dless of sharing status?

                         It looks like the environment admin role would grant the ability to view and manage au flows in the environment, which i.s
                         the appropriate level of access here.

                                             Gilchrist, Joseph (CFPB)can we grant the environment admin role fOJ the OPS HC - Prod environment?

     Chi b<H'I,Christophw (Cf PB) 4/12 5·59 PM

       Joe - Adnan is available if we need him

     Gih;hrisl, Jos1;1ph
                       (CFP&) 4/12 5·59 PM

       Ok let's pull him in pts.

fo   Chilbert. Christopher (Cf P8) added Ehsan, Adnan (CFP8) to the chat.

     Chilbert, Christopher (CfPS) 4/12 6:03 PM

       Joe - adnan's here. what do you need

     Gifchrisl. Joseph (CFP8) 4/12 6:03 PM

       Looking tor a flow in Power Platform that needs to be shared




                                                                                                                                       CFPB_03653
               Case 1:25-cv-00381-ABJ                       Document 137-1                  Filed 04/28/25               Page 103 of 169




        Lookingfor a flow in PowerPlatform that needs to be shared
 0

                                                                                                                                          4/12 6;08 PM

                         Can we share the environment admin role for OPS HC - Prod? I think that is pretty reasonable. I will be running this
                         operation and need to ability to create, delete, modify and grant access to flows related to HC.

      Thompson, Jennifer (CFPB) 4/12 6:23 PM

        Adam sent the approval for admin role tor this OPS HC-Prod environment, I forwarded it to the team, if you could get




         ·~
        Gavin set up that would be great! THANKSfor your help "-'

      Gilch1ist, Joseph (CFPBI 4/12 6:24 PM

        Adnan was able to help. Big thanks to Adnan. Gavin has been added as an admin to the environment.


      Thompson, Jennifer tCFP8) 4/12 6:24 PM

'1)     Your team is AWESOME!

      Gilchrist, Joseph (CFPB) 4/12 6:24 PM




         •
        I have a prior obligation for tonight, w I will have to go otfline for the night. I'll be availabte tomorrow if needed.



      Chi!l)e11, Chn$IOJ)her (CFP8) 4/12 6"27 PM

        Thanks fo( your suppo(t Jo~



        and Adnan!


        and Jennife, !

                                                                                                                                          4(12 6:32 PM

                                                                                                                                         Thanks au.




                                                                                                                                  CFPB_03654
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                           It does look like there is a sharepoint site (httos:1Jbctp365Sharepoinlfs1tesfhc-ler1where we store an the templates - can
                           someone grant access thete as well (mad/write}?

                                                                                               Small typo - hll~P365       sbacepoint
                                                                                                                                   coro/sites/hc•ler

        Thompson, Jennifet (CFP8) 4/12 6:35 PM

          I will need access to that as well actually

        Chilberl, Christopher (CFPB) 4/12 6:37 PM

          I think Adnan needs to to that

        Ehsan. Adna.o(CFPS) 4/12 6:47 PM

 AE       Kliger, Gavin (CFPB) Thompson, Jennifer (CFPB)you should ha\l'eaccess now.               @
  0
         @
        Thompson, Jennifer (CFPB> 4{12 7'.26 PM

          Who would be able to get me access to the CEPR fro"IJ.QyeeBelatioos@dob
                                                                              g~ sha(ed mailbox so that I am able t·o
          email from that box using a flow

 80     McCarty, Thomas tCFPB)added Weigert, 8randon (CFPB} to the chat and shared all chat h1$1ory.

        McCarty, Thomas (CFPB) 4/12 7:34 PM

I..~"
~I; 1     Weigert, Brandon (CFPB)can you please assist with Thompson, Jennifer (CFPB)request

                                                                                                                                               4{12 7:51 PM

                                                                                          +1, please mirror access requests ftom Jennifer to me as well.
                                                                                                                                                              0
        McCarty, Thomas (CFPB) 4/12 7:f:i2 PM

~'        I'm asking my email team. Stand by

        Ehsan, Adnan (CFPB) 4/12 7:59 PM

 AE       I added them.,,give it an hour to bake in.
  0
              2




                                                                                                                             CFPB_03655
                Case 1:25-cv-00381-ABJ                                     Document 137-1                         Filed 04/28/25     Page 105 of 169




                                                                                                                                                           4/12 6 40PM

                             Hello Adnan.can you please grant read/write access to bllns·l/hcto3fl5st1arennint
                                                                                                            comlsi'lf!d1c-ler for myself and
                             Jennif8r Thompson'?thanks,

     EhS.al'I,Adn;il'I (CFPB) 4/12 5·43 PM



 •
AE      sure--one sec.

                                                                                                 Al)fi11?

     Ehsan, A(:ln-3n(CFP6) 4{17 9:30 AM



 •
AE      GM.... Chris mentioned you asked about not having admin access to OPS HC-Prod environment.



           __ .. __
           ___
        Youand Jeremy have EnvAdmin access to it.

         .,.
          EtmlOl'IMfl1$

         ,,                ,,__ ,.._,.
                          """,.._..,
                          Ol'S HC l'l'od   Etl'l'IIOtlfMM   Admin
                                                            ....______       .,_....,... ___


                                                                         ...
            0   --"'"'


                                                                         -                     -
                                                                                               wtl»III   ......




       Are you seeing any issue?

                                                                                                                                                          4/17 10:55 AM

                                                                                                                                   Can you please hop on a quick call

     Ehsan, Adnan (CFPB) 4/17 10.S8 AM


 •
AE     Admin - hll~gcc              adroin ~rpfatform                roicroSQftus/environments

        Development- httos·//make.g~.oowerapps.us/

                                                                                                                                                           4/17 11:36 AM

                                                                                      Can ~•ougrant access to the "OMCProj!t.klS."sharepoint and all included files?




                                                                                                                                              CFPB_03656
               Case 1:25-cv-00381-ABJ                    Document 137-1                 Filed 04/28/25            Page 106 of 169




                                                                    Can you grant access to the "OHC Proie:cu"
                                                                                                             sharep,oint and all included files?

                                                                                                             Please grant rnad and wfit8 access.

                                                                                                                                       Full control

                                                                                                               Shared Tracking: TAS, ER.SysOps

                                                                      Labor and Employee Relations - httns·IJbcfp365 sbacennint cnm(siJesblc-lec

                                                                                                                                         4fl? 1:09 PM

                              Can you grant me the microsoft word for business license? Needed to finish the power-automate flow I am building.

      Ehsan, Adnan (CFP8) 4/17 1.10 PM

AE      let me check your licensing group ...you should have word
  0
                                                                                                                                         4/17 J.10 PM

                                                                                        I have the word application, but I need word tor business..

      Ehsan, Adnan (CFP8) 4/171:12 PM



 •
AE      hmm ...are you referring to M365 for business?

                                                                                                                                         4/171:13 PM

                                 Was able to access, looks like it just propagated. Had asked someone else so probably a race condrtion. Thanks!

      Ehsan, Adnan (CFP8) 4/171:13 PM



 •
AE      you good?

                                                                                                                                         4/17 3:57 PM


                        Flow could not be activated because you need a (Power Automate Premium license)(b,UR&J.lgomicrosoft comffwlinkl'?
                        Unkid:2297915)
                                    or other ltcense that includes premium connectors to s.avethis flow with connection: 'Word Online
                        (Business)'

                                                                      Can you grant this power automate premium license? Need asap to unblock.




                                                                                                                           CFPB_03657
                 Case 1:25-cv-00381-ABJ             Document 137-1                Filed 04/28/25            Page 107 of 169




•
Request for 90 Day Comp Area Waiver and 30 Day Exception

        © Martinez, Adam (CFPB) <Adam.Martinez@cfpb.gov>                                                       Tuesday, April 15, 2025 at s:57 PM

         To:     Mahoney, Michael J; wpintake@opm.gov; Cc:   Peters, Noah;   0 Lewin, Jeremy; 0 Kliger, Gavin (CFPB)   v


                  Item 3 High Level Or...       CFPB 90•day Comp ...               CFPB Requesting an ...
          ,:,i    126.5 KB                      217.7 KB                           194.1 KB

          Download All •       Preview All



Good evening, Michael -

Attached is a new request for the Consumer Financial Protection Bureau. The February 2025 approved plan was not
implemented .
.
Attached
CFPB 90-day Competitive Area Waiver
High Level Org Chart
CFPB Request for an Exception to the 60 Day RIF Notification Period

Thank you for your review and approval.

Adam

Adam Martinez
ChiefOperating Officer
Consumer Financial Protection Bureau




                                                                                                                 CFPB_03658
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a   Martinez, Adam (CFPB)             Chat    Shared    (±)                                                                                                               13)




                                                                                                                                                          4/1'1 5-14 PM

                                                                                                   Can you send me the Power8t link so I can take a look'?



Q
      M.atbnez, Adam (CFPB) 4/12 5:52 PM

        Caroline Q. on my team is going to reach out to you re: HR Insight access.

                                                                                 Aptil 16

                                                                                                                                                         4/16 2:23 PM

                                   Hey Adom. Arc we on tr.:ic:k to potcntiolly     i:;:;vc RIF notioc:;; tonight (;;,:;:;vming Of'M competitive   ore.:. opprov.;,1)?


      Martinez, Ad.am (CFPB) 4/16 2:40 PM

        Hi. We just finished a full review of all of the job codes to connect it to the number ot retained positions. The retained
        positions document will be going to Mark for approval shortly. In the meantime, the team is going to convert the job
        codes to the competitive levels in the register. tf Mark makes any changes, we can adjust as needed.

      Martinez, Adam (CFPB) 4/16 7:08 PM

        I'm still on with my team talking through the last remaining items that we need to finish, Our folks are still mapping the
        job codes to the competitive level. Then we will be testing the data and doing quality control overnight. The team is
        working 10 hit the button at 9 est. tomorrow morning.




Q
      Martinez, Adam (CFPB) 1:44 PM

        Hi Gavin - Could yov check your email for an urgent request? Thank you.




                                                                                                                                          CFPB_03659
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                                                                        April 12

                                                                                                                                      4/12 4:21 PM




                        The privileged user agreement \\IOUldnot load on my Mac; possible it has some adobe acrobat only features that are not
                        supproted.

     Gilchrlst, Joseph (CFPS) 4/12 4:31 PM

       No worries, just sent the word doc version to you .
•o
                                                                                                                                      4(12 5:30 PM

                        httos•f/makeg.o.y.oowerautomate
                                                     1,sfeovirooroentsta6f32399-8884-ee66-9db4-17abc56a841  lf§f63904-
                                                                                                  omowslsbaced
                        c5bd-4 bd8-aQf9- 1ad043787ffa/details




                                                                                                                        CFPB_03660
               Case 1:25-cv-00381-ABJ                        Document 137-1              Filed 04/28/25           Page 110 of 169




8o Ch,lbert, Christopher (CFPB) added Khger, Ga"ln (CFPB) to the chat.
80   Chilbert,. Christopher (CFPB) 3d<SedManlnez, Adam (CFPS) 10lhe Ch31.

     C lchrisl, Joseph (Cf PB) 4/12 3:33 PM

        https·/{myaops
                     micmsofrcom/

        httns/lidmscfob locat·8443tidentitvin/home
                                                i~

t    4/12 3 52 PM Cati ended 49m 45s

                                                                                                                                       4/12.'1.2.2 PM

                                                 Submitted the user agreement forms and took a training. One form would not open on my computer.

                                                                                                                                       4/12 4.46 PM

                        Chilbert, Christopher (CFPB)Who would be able to grant the ability to run reports on HR Insights? You mentioned it
                        would go through Treasury last time. We need to be able to run the r<tportAdam Martinez's team put togethor so we can
                        get a live view of the org.
                                                                                                                                                        0
     Ch1lbert, Christopher (CFPB> 4/12 4:47 PM

        Adam's team should be able to do it

     M.arunez,Adam (CFP8) 4/12 4.49 PM

Q       on with my team now discussing how to do this
      @




                                                                                                                           CFPB_03661
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Data Insight Access

          0 Quintarelli, Caroline (CFPB) <Caroline.Quintarelli@cfpb.gov>                                   Saturday, April 12, 2025 at 6:22 PM

          To: 0 Kliger, Gavin (Cf PB); Cc: 0 DiPalma, Nikki (Cf PB); 0 Martinez, Adam (CFPB)   v


            J.    ARC BF'SData lnsigh... .,,
            e,I   1.5MB

           Download     •   Preview



Hi Gavin, Good news. The Treasury Data Insight lead should be contacting me any minute to discuss access. They witl need the attached
access form. Can you please sign the employee signature block and then read and sign the rules of behavior at the bottom of the form?

Return to me when you are done.

Thanks and I will be in touch soon.

Caroline Quintarelli
HC Systems Consultant
HR Data Insights aod Solutions I Office of Human Capital
Phone: (202) 441-7880

Consumer Financial Protection Bureau
consumerfinance.gov




                                                                                                               CFPB_03662
                 Case 1:25-cv-00381-ABJ                  Document 137-1              Filed 04/28/25       Page 112 of 169




RE: access approval

          0 Thompson, Jennifer (CFPB) <Jennifer.Thompson@cfpb.gov>                                           Saturday, April 12, 2025 at 5:24 PM

           To:   ® Martinez, Adam (CFPB): Cc: ® OiPalma, Nikki (CFPB); O Kliger, Gavin (CFPB)         v




Thanks Adam.

Best Wishes,
Jenn
From: Martinez, Adam {CFPB) <Adam.Martinez@clpb.gov>
Sent: Saturday, April U, 2025 5:18 PM
To: Thompson, Jennifer {CFPB) <Jennifer.Thompson@cfpb.gov>
Cc: OiPalma, Nikki (Cf PB) <Nikki.OiPalma@cfQb.gov>; Kliger, Gavin {CFPB) <Gavin.Kliger@cfl!l!,gov>
Subject: access approval

HiJen-

This is approval to share the environment admin role for OPS HC - Prod \,1th Gavin Kliger,Senior Advisor to the Acting
Director. He will need access to create, delete, modify, and grant access to flows related to Human Capital.

Please let me know if you have any questions. Thank you.

Adam
Adam Martinez
Chief Operating Officer




                                                                                                                CFPB_03663
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                                                                CFPB_03664
                  Case 1:25-cv-00381-ABJ                Document 137-1            Filed 04/28/25          Page 114 of 169




Re: CFPB Draft Email

           0 Paoletta, Mark R. EOP/OMB <Mark.R.Pao1etta2@omb.eop.gov>                                         Saturday,April 12, 2025 at 7:11PM

•           To:   Jeremy Lewin; Cc:   Vooght, Russell T. EOP/OMB; chris.young@cfpb.gov; 0 Kliger,Gavin (CFPB); +5 more v



Adam and Jafnar,
Do not take any action until you hear from me.
Mark
Sent from my iPhone

    On Apr 12, 2025, at 2:34 PM, Jeremy Lewin <j~_ygjg,gQll>            wrote:


    As discussed, this is the request we need to CFPB staff.


    To: Chris Chllbert (christopher chilbert@cfp!2.g!l!L),Adam Martinez (adam.martinez@cf_Pl2,_g!l!L),
                                                                                                   Jafnar Gueye
    (!!g!lgne.guey.fil§1cfpb.gov)

    Please grant Jeremy Lewin, Gavin Kliger, Luke Farritor, and Jordan Wick full global administrative access to both Active
    Directory/ Microsoft Entra and HR Connect. If any of their email or other accounts have been disabled, please ensure that
    they are reactivated and that they have full access to Bureau systems and communications.

    Adam and Jafnar: please send these people four (1) all of the information from the first planned RIF action, including the
    populated RIF letters, employee roster and employee information, template letters, and supporting Information, (2) the
    updated contract spreadsheet, with the detail on claimed statutory requirements, and (3) the current status of any Bureau
    probationary employees.

    In addition, please give these four people any additional information or permissions that they may need, including
    additional systems access or supporting information regarding Bureau personnel or contractual obligations.




                                                                                                                 CFPB_03665
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                                                                CFPB_03666
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FW: '**Test••• Specific Notice of Reduction in Force

            ® Martinez, Adam (CFPB) <Adam.Martinez@cfpb.gov>                                              Thur.;day, April 17, 2025 at a:11
                                                                                                                                          AM

•           To:   0 Kliger,Gavin (CFPS); gavin.kliger@opm.gov

                                                   MSPB_Appeal_lnfor
                                                                   ...    -1. OPM_Retet1tion_Reg...v    +S more ...,
                                              "'   18.3 KB                .,._ 632.1 KB

             Oownk>adAll   •   Preview All


    Q Thismessageis highimportance.


                                                                    CUI

Here's an actual sample system generated email package.

Adam Martinez
ChiefOperating Officer

From: CFPB_OHC_General<~Q.lil:           GeneraJ@,;fl!.b,g1rt>
Sent: Thursday, April 17,20257:12AM
To: jennifer.marie.thompson80@_gmail.com;  Thompson,Jennifer(CFPB)<Jennifer.Thompson@cfpb.goV'>
Subject: •••rest .. • Specific Noticeof ReductionIn Force
Importance: High


                                                                    CUI


The Consumer Financial Protection Bureau identified your position being eliminated and your employment is subject to
termination in accordance with reduction-in-force (RIF) procedures. Please see the attached notice of separation with
associated documents and resources. Additional information regarding this action is included in the attached memorandum.

Please be advised that you will retain access to work systems, including email and internal platforms until 6:00 PM Eastern
nme, on 4/17/2025. After that time system access will be discontinued, and you will be placed in an administrative leave
status through your official separation date as outlined above.

It is recommended that you download a copy of your eOPF and performance records and send only personnel related
documents to your personal email address. Employees are ~y           prohjbjted
                                                                              from sending any Bureau work related
documents, emails, information or data to their personal email address. Employees are only authorized to email personal
records outside of the Bureau. Employees who send Bureau work related documents externally will be subject to
disciplinary action up to and including removal from federal service.




                                                                                                             CFPB_03667
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•
Specific Notice of Reduction in Force

         0 CFPB_0HC_General <CFPB_OHC_General@cfpb.gov>                                              Thursday, April 17,2025 at 2:53 PM

         To:      0 Kliger, Gavin (CFPB)

                   Kliger,MELANIE,CFP
                                    ...      MSPB_Appeal_Jnfor
                                                             ...          OPM~etention_Reg...   .,, +S more ....,
             -0    152.4 KB                  18.3 KB                   ~ 632.1 KB

           Downlo.-d All •     Preview All


2 This message is high importance.

                                                              CUI


The Consumer Financial Protection Bureau identified your position being eliminated and your employment is subject to
termination in accordance with reduction-in-force (RIF) procedures. Please see the attached notice of separation with
associated documents and resources. Additional information regarding this action is included in the attached memorandum.

Please be advised that you will retain access to work systems, including email and internal platforms until 6:00 PM Eastern
Time, on 4/18/2025. After that time system access will be discontinued, and you will be placed in an administrative leave
status through your official separation date as outlined above.

It is recommended that you download a copy of your e0PF and performance records and send only personnel related
documents to your personal email address. Employees are l!!tiJilly grohjbjted from sending any Bureau work related
documents, emails, information or data to their personal email address. Employees are only authorized to email personal
records outside of the Bureau. Employees who send Bureau work related documents externally will be subject to
disciplinary action up to and including removal from federal service.

Also, please ensure that your personal information is updated in HRConnect including your personal email address, personal
phone number and home address. This Information will be important as we continue to communicate with your during the RIF
period.

0HC would appreciate your acknowledgement of this communication by replying to this email. Please direct any questions to
CFPB 0HC General@cfpb.gov.

Thank you,

Office of Human Capital




                                                                                                         CFPB_03668
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•
Fw: , .. Test••• Specific Notice of Reduction in Force

          0 Kliger, Gavin {CFPB} <Gavin.Kliger@cfpb.gov>                                                Thursday, April 17,2025 at 8:14AM

          TO:   ® Paoletta, Mark (Detailee) (CFPB}

                                               Jr MSPB...AppeaUnfor...
                                                ~ 18.3 KB
            ,..,- TH0MPS0N,JENNIF...                                          OPM_Retention_Reg
                                                                                              ... .,   +S more v
                  133.1KB                •                                _   632.1 KB

            DownloadAll •    PreviewAU




From:Martinez., Adam (CFPBl<Adam.Martjnoz@c(i&gllll>
Sent: Thursday, April 17, 2025 8:09:45 AM
To: Kliger,Gavin (CfPB) <Gayin,Kfi•~-'illli.&llll>:
                                                  gayin,kligec@rn&llll
                                                                    <aayin,kllgec.@.21l!Jl.8llll>
Subject: FW: "*•Test .. * Specific Notice of Reduction in Force


                                                                    CUI

Here's an actual samplesystemgeneratedemailpackage.

AdamMartinez
Chief Operating Officer

From:CFPB_0HC_General<l:fflU2!K_Gonoral@cfpq,gllll>
Sent: Thursday, April 17, 2025 7:12 AM
To: Jenoltetmarie,thornosonSO@.srnail.wm
                                 Thompsoo, Jennifer (CFPB) ..;Jenoifeclbom~..-'!~~;,,
Subject: **•Test*"'• Specific Notice of Reduction in Force
Importance: High


                                                                    CUI


The Consumer Flnancial Protection Bureau identified your position being eliminated and your employment is subject to
termination in accordance with reduction-in-force (RIF)procedures. Please see the attached notice of separation with
associated documents and resources. Additional information regarding this action is included in the attached memorandum.

Please be advised that you will retain access to work systems, including email and internal platforms until 6:00 PM Eastern
Time, on 4/17/2025. After that time system access will be discontinued, and you will be placed in an administrative leave
status through your official separation date as outlined above.




                                                                                                           CFPB_03669
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RE: •••Test .. • Specific Notice of Reduction in Force

          ® Paoletta, Mark (Detailee)(CFPBJ <Mark.Paoletta@cfpb.gov>                          Thursday, April 17,2025 at 8:30AM

•          To:   O Kliger, Gavin (CFPBJ


                                                                    CUI


Gavin,

The Acting Director has reviewed and approved. We are good to go.

Thanks.

Mark

Mark Paoletta
Chief Legal Officer
CFPB


From: Kliger, Gavin (CFPB)<Gavin.Kliger@cflll!,gov>
Sent: Thursday, April 17, 2025 8:14 AM
To: Paoletta, Mark (Detailee)(CFPB) <Martc.l>aoletta@cfs!ll,girt>
Subject: Fw: "'**Test• .. SpecificNoticeof Reductionin Force


                                                                    CUI




From: Martinez, Adam (CFPB)<Adam.Martinez@cfpb,gov>
Sent: Thursday, April 17, 2025 8:09:45 AM
To: Kliger,Gavin (CFPB)<Gavin.Klige!.@.QPYov>;gavin.klige!:@~P.m.gov
                                                                  <gavin.kligm:@QQm.gov>
Subject: FW: ... Test• .. Specific Nocice of Reduccion In Force


                                                                    CUI


Here's an actual sample system generated email package.

Adam Martinez
Chief Operating Officer
                                                                                                         .-----
                                                                                                           ·----




                                                                                                  CFPB_03670
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                                                                CFPB_03671
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•
RE:Specific Notice of RIFTemplate

             0 Martinez, Adam (CFPB) <Adam.Martinez@cfpb.gov>                                          Saturday, April 12, 2025 at 4:33PM

             To: JeremyLewin; Cc: 0 Kliger,Gavin (CFPB); ® Lewin,Jeremy v

                   " List of Employe<:s20... _      Documents - Notice...   ...
                 £1- 332.7 KB                    C 1.4 MB
                 DownloadAll



Hi Jeremy, Received.

Attached is the master and final list with all of the fields needed for the template. This is the list that coincides with the
competitive areas (attached) approved by OPM and would have been used on 2/14,

I may need some direction on the probationary employees. All have been reinstated based on the Maryland case that's
with the Richmond Court of appeals. The 43 reinstated based on the DC Court of Appeals were the term/Not-to-Exceed
employees that were not on probation.

Hope this makes sense. I'm touching base now \\1th my PowerBI person.

Adam




Adam .Ma1tinez
ChiefOpemting Officer

From: JeremyLewin<j~~g!ll(>
Sent: 5aturday,April 12, 20254:08 PM
To: Martinez,Adam(CFPB)<Adam.Martinez@cfllb.gov>
Cc: Kliger,Gavin(CFPB)<GayjnKlig~J;fJlll.g!ll(>;Lewin,Jeremy~my,Lewjn@i;fl!l!,g!ll(>
Subject: SpecificNoticeof RIFTemplate

Adam,

Please find attached an updated RIF letter template for tomorrow's planned personnel actions. Let me know of any questions
or concerns.

We will need to pull the requisite information to accurately fill in this information for the employees in the competitive areas
approved by OPM, and mail merge with the required Title 5 supporting information packet (which we have as a consolidated
c:iin<1I~ Pr\~




                                                                                                           CFPB_03672
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                                                                CFPB_03673
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RE:Data Insight Access is Ready

&           0 Quintarelli, Caroline (CFPB) <Caroline.Quintarelli@cfpb.gov>                                    Sunday,April 13, 2026 at 1:26 PM

.. _,       To:   0 Kliger, Gavin (CFPB); Cc: 0 DiPalma, Nikki (CFPB); 0 Martinez, Adam (CFPB)   v




I was able to duplicate the error when my PIV wasn't Mly inserted into my computer. Can you please make sure the card is securely
inserted?

Once I got the error the browser wouldn't reprompt me for my cert. I assume that is just a caching issue, so I tried togging in using a
different browser. That worked and it did prompt me. Can you please try it and let me know? Also can you verify that you can use your PIV
to tog into the CFPBnetwork?

Thanks,

caroline Quintarelli
HCSystems Consultant
HR Data Insights and Solutions I Office of Human capital
Phone: (202) 441-7880

ConsumerFinancial ProtectionBureau
conaumarfinance,qsix
From: Kliger, Gavin (CFPB)<Gayin.KUg8!.@"11ll!.g!ll£>
Sent: Sunday, April 13, 2025 1:08 PM
To: Quintarelli, Caroline {CFPB)<Caroline.Ouintarelli@cfpb.gov>
Cc: DiPalma, Nikki (CFPB)<Nikki.DiPalma@cfpb.gov>; Martinez, Adam (CFPB)<Adam.Martinez@cfpb.gov>
Subject: Re:Data InsightAccessis Ready

When logging in with the PIV option, I receive the error

Client certificate not presented for authentication
Error Tracking ID= tid:Cg2rY13uwCcUNRx03sN8ssKQWsc

This is consistent and reproducible.
From: Quintarelll, Caroline (CFPB) <:Caroline.Quintarelli@cfpb.gov>
Date: Sunday, April 13, 2025 at 10:46 AM
To: Kliger, Gavin (CFPB)<:Gavin.Kliger.@Jlli)b.gov>
Cc: DiPatma, Nikki (CFPB)<:Njkki,DiPalma@tjQQ,gQP, Martinez, Adam (CFPB) <Adam.Martinez@<;!QQ,~
Subject: RE: Data Insight Access is Ready

Hi Gavin.

Your access has been converted to PIV-enabled access because it is our understanding that you give have access to a PIV with the CFPB
certificate. The url to login is httm;ll.datainslght.tea~.treMury.~.




                                                                                                                CFPB_03674
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                                                                CFPB_03675
Case 1:25-cv-00381-ABJ   Document 137-1   Filed 04/28/25   Page 125 of 169




                                                                CFPB_03676
                 Case 1:25-cv-00381-ABJ                 Document 137-1             Filed 04/28/25           Page 126 of 169




•
Re: CFPB-USDS executed agreement

          0 Kliger, Gavin (CFPB) <Gavin.Kliger@cfpb.gov>                                                        Saturday, April 12, 2025 at 4:21 PM

          To: 0 Gilchrist,Joseph(CFPB); Cc:        0 Martinez,Adam(CFPBI; @ Malik,lrlan (CFPBI; 0 McCarty,Thomas(CFPB); +2 more v

             ,..., Gavin_Kliger_Ctoud
                                   ...              FY24_Rules_of_Beh
                                                                    ...
            ""- 1.2MB                         -,    817.5 KB

            DownloadAll • PreviewAll



I completed the online privileged user training, I have attached two of the three forms signed; the privileged user agreement
would not load on my computer. I do not have adobe acrobat; can we try sending just the text or similar?


From: Gilchrist, Joseph (CFPB) <Joseph.Gllchrlst@.QP-b.gov>
Date: Saturday, April 12, 2025 at 4:08 PM
To: Kliger, Gavin (CFPB) <Gayjn Kliger@c;;fR];!.gQl!'.>
Cc: Martinez, Adam (CFPB) <Adam.Martinez@c!Jlb.gov>, Malik, lrfan (CFPB) <lrfan.Malik@Q!pb.gov>, McCarty, Thomas
(CFPB) <Thomas.McCac:tv@.cfa!!,g~.      Sadeghi, AU(CFPB) <Y9.!.!seph.Sadegbi.@..c.t11Agrui>,
                                                                                          Chilbert, Christopher (CFPB)
<Christopher ChHbert@~gQl!'.>
Subject: Re: CFPB-USDS executed agreement

Please see the PDFfor the Service Desk Adm in Priv. This will provide you the ability you need for managing logical access.

JoeGilchrist
Lead,Mobility & !CAM I infrastructure Solutions I Technology& Innovation
Mol,;le: (202) 420-0494
Bureauof ConsumerFinancialProtection
consumerfinance,g~
Availability: TeleworkPrimary,M-T 7:30am- 6:00pm



From: Chilbert, Christopher (CFPB) <ChrjstoohetChj\bert@c1P.b,.gOl(>
Date: Saturday, April 12, 2025 at 3:35 PM
To: Gilchrist, Joseph (CFPB) <Jose1;1h.Gilchrist@cfpb.gQl!>, Kliger, Gavin (CFPB) <Gavin.Kligfil@cfpb.gov>
Cc: Martinez, Adam (CFPB) <Adam.Martjnez@cfll.ll..1!9.)(>, Malik, lrfan (CFPBJ <Jrfan.Mallk@J..fR\MOl(>, McCarty, Thomas
(CFPB) <Thomas.McCamr.@l;fi;ib.gQl,I>
Subject: RE: CFPB-USDS executed agreement

The link for the privileged user training Is here: J.lbalrv I KnowBe4-
                                                                    It's about 5 minutes long and we'll be compliant If you take It along with
signing the forms.

Chris Chilbert
(202) 435-9880

From: Gilchrist,Joseph(CFPB)<Joseph.Gllchrist@Qpb.goy>




                                                                                                                    CFPB_03677
                   Case 1:25-cv-00381-ABJ               Document 137-1            Filed 04/28/25         Page 127 of 169




•
Re: CFPB-USDS executed agreement

          0 Kliger, Gavin (CFPB) <Gavin.Kliger@cfpb.gov>                                                     Saturday, April 12, 2025 at 4:39 PM

          To:      0 Gilchrist, Joseph (CFPB); Cc: ® Martinez, Adam (CFPB); ® Malik, lrfan (CFPBJ; 0 McCarty,Thomas (CFPBJ: +2 more v

           nn       Khger_Prlvileged Us...   ..,
           ... a    166.3KB

            Download •        Preview



Thanks. See attached signed copy,


From: Gilchrist, Joseph (CFPBJ<Joseph.Gjlchrjst@l.J.fll.tl.gwe
Date: Saturday, April 12, 2025 at 4:31 PM
To: Kliger, Gavin (CFPB) <Gayin.Klig!![@.i;.tp..!!,gm:>
Cc: Martinez, Adam (CFPB) <Adam Martinez@lJ;fpb goy>, Malik, lrfan (CFPB) <lrfan Malik@J.fllll.gQll>, McCarty, Thomas
(CFPB) <Thomas.McCat!Y.@£fP-b.gov>,Sadeghi, Ali (CFPB) <Youseph.Sadegh[@gpb.gov>, Chilbert, Christopher (CFPB)
<Cbcistooher.Chilbert@l.Qfll.b.,g~
Subject: Re: CFPB-USDS executed agreement

Thank you, Gavin, sorry about the other PDF. I have converted into a word doc. Please see attached.

Joe Gilchrist
Lead, Mobility & ICAM I Infrastructure Solutions I Technology & Innovation
Mobile: (202) 420--0494
Bureauof ConsumerFinancialProtection
consumerfinance.gov
Availability: Telework Primary; M·T 7:30am • 6:00pm



From: Kliger, Gavin (CFPB) <Gavin.Klig!!.!@.cfpb.gov>
Date: Saturday, April 12, 2025 at 4:21 PM
To: Gilchrist, Joseph (CFPB) <Joseph.Gilchrist@cfP.b.gQl(->
Cc: Martinez, Adam (CFPB) <Adam.Martinez@lcfllb.gov>, Malik, lrfan (CFPB) <lrfan.Malik@cfpb.gov>, McCarty, Thomas
(CFPB) ~~>.                             Sadeghi, Ali (CFPB) <Youseph.Sadegbl@~Qll>.     Chilbert, Christopher (CFPB)
<Christopher.Chilbert@lcfo!l.goy>
Subject: Re: CFPB-USDS executed agreement

I completed the online privileged user training. I have attached two of the three forms signed; the privileged user agreement
would not load on my computer. I do not have adobe acrobat; can we try sending just the text or similar?

From: Gilchrist, Joseph (CFPB) <Joseph.Gilchrist@cflll!,gov>
Date: Saturday, April 12, 2025 at 4:08 PM
To: Kliger, Gavin (CFPB) <Gavin.Klig!!.!@.cfpb.gov>




                                                                                                                 CFPB_03678
                Case 1:25-cv-00381-ABJ              Document 137-1   Filed 04/28/25   Page 128 of 169




Notice Example

         0 Kliger, Gavin (CFPB) <Gavin.Kliger@cfpb.gov>                                 Thursday, April 17, 2025 at s:07 AM

•        To:    ® Paoletta, Mark (Detailee)(CFPS)

                 _Speclfic_Notice_oL
           ""    135 KB

          Download •      Preview



Hello Mark,

Please see attached per discussion.

Gavin




                                                                                            CFPB_03679
   Case 1:25-cv-00381-ABJ   Document 137-1   Filed 04/28/25   Page 129 of 169




                            April 16, 11:08 AM


              Hello Michael. Adam Martinez at~
              recently sent a set of competitive
              areas for review. This is of the highest
              priority - please ensure we review
              promptly.

               Call me if any questions.

Hi Gavin Thanks. Yes Noah forwarded
to us
CD Q


                                                                   CFPB_03680
                  Case 1:25-cv-00381-ABJ                Document 137-1              Filed 04/28/25          Page 130 of 169




Re: CFPB-USDS executed         agreement

          0 Gilchrist, Joseph (Cf PB) <Joseph.Gilchrist@cfpb.gov>                                                Saturday,A.pril12, 2025 ot 4:08 PM

          To:     O Kliger, Gavin(CFPB); Cc: 0 Marllnez, Adam (CFPB); 0 Malik, lrfan (CFPB); O McCarty,Thomas(CFPB); +2 more v

                   Kligor_Privilcgcd
                                  Us... ..,
             ,,    79.2 KB

            Download • Previ~



Please see the PDF for the Service Desk Ad min Priv. This will provide you the ability you need for managing logical access.

Joe Gilchrist
Lead, Mobility & ICAM I Infrastructure Solutions I Technology & Innovation
Mobile: (202) 420-0494
Bureauof ConsumerFinancialProtection
consumerfinance,gsrt
Availability: Telework Primary, M-T 7:30am - 6:00pm



From: Chilbert, Christopher (CFPB) <Christopher.Chilbert@Cft!b,gov>
Date: Saturday, April 12, 2025 at 3:35 PM
To: Gilchrist, Joseph (CFPB) <JoseP-h.Gilchrist@cfP-b.gov>,        Kliger, Gavin (CFPB) <Gavin.Kliger@cfpb.gov>
Cc: Martinez, Adam (CFPB) <Adam,Martinez@)J;/pb,goy>,
                                               Malik, lrfan (CFPB) <lrfan,Malik@).w.fll.b.gl2l£>, McCarty, Thomas
(CFPB) <Thomas.McCarty@cfpb.gov>
Subject: RE:CFPB-USDS executed agreement

The link for the privileged user training is here: LibrarvJ KnowBe4 -it's about 5 minutes long and we'll be compliant if you take it along with
signing the forms.

Chris Chilbert
(202) 435-9880

From: Gilchrist, Joseph{CFPB)<Joseph.Gi!chrjst@cfa.12.~>
Sent: Saturday, April 12, 2025 3:32 PM
To: Kliger, Gavin (CFPB)<Gavin.Kliger@J;fpyo11>
Cc: Chilbert, Christopher (CFPB)<Christooher.Chilbert@cfpb.go11>;Martinez, Adam (CFPB)<Adam.Martinez@cf~go11>; Malik, lrfan (CFPB)
<ht,n Malik@<;fp.l!.,gQJ£>;
                          McCarty, Thomas (CFPBI<Thomas,Mccar1v@.i;fl<l>.,g!l)L>
Subject: Re: CFPB-USDS    executed agreement

Please see the attached PUA and ROB for needed access.

Joe Gilchrist
Lead, Mobility & ICAM I Infrastructure Solutions I Technology & Innovation
Mobile: (202) 420-0494
Bureau of Consumer Financial Protection




                                                                                                                    CFPB_03681
                   Case 1:25-cv-00381-ABJ                Document 137-1               Filed 04/28/25        Page 131 of 169




Re: New Incident assigned to Desktop Engineering - Macs: INC0153121 - User is not able to use Adobe
Acrobat to sign PDF files
             0 Shane, Steve (CFPB) <Steven.Shane@cfpb.gov>                                                       Monday,April 14, 2025 at 11:38AM

•            To:   © Davey, F,ank (ContractOf)(CFPB); 0 Carvajal, Cesar (CFPS); Cc:   e Kliger, Gavin {CFPB) v

Good Morning, Gavin.

It looks like the Adobe Acrobat install failed on your system. I have flushed the policy. It will attempt to
install once the machine comes online.

Thank you,
Steve

From: Service Desk (CFPB) <servicedesk@cf12b.gov>
Date: Monday, April 14, 2025 at 11:32 AM
To: Davey, Frank (Contractor)(CFPB) <Frank.Davey@cfpb.gQl!>, Northern, Dwayne (Contractor)(CFPB)
<.Qwayne.Northern@J;!ll.b.,g~. Carvajal, Cesar (CFPB) <Cesar.Caryaia\@.i..(g.b.g~.
                                                                                Butler, Cardell (Contractor)(CFPB)
<Cardell.Butler@cfpb.gov>, Oyawale, Jide (Contractor)(CFPB) <Jide.Oyawale@ct12b.gov>, Shane, Steve (CFPB)
<Steven.Shane@cf12b.gov>,West, Mark (CFPB) <Mark.West@cfpb.gov>
Subject: New Incident assigned to Desktop Engineering• Macs: INC0153121 • User is not able to use Adobe Acrobat to sign
PDF files

An incident has been opened and assigned to your group Desktop Engineering - Macs.




    lncldP.nt lnfnrmntlnn
!short Description:     ~notable        to use AdobeAaobat to sign PDF files
!Caller:                ,!GavinKliger
IPriority:              JJs- Planning
l1nciden1
        Number:         IIINC0153121
!OpenDate:                         11:03:17EDT
                        112025-04-14                                                  J
Click this link to go the the view the incident: !NCO]
                                                     5312]

Ret.MSG6003531 _7t8EgWBN7B4GjeZd0JuX




                                                                                                                    CFPB_03682
               Case 1:25-cv-00381-ABJ                  Document 137-1              Filed 04/28/25         Page 132 of 169




access approval

         0 Martinez, Adam (CFPB) <Adam.Martinez@cfpb.gov>                                                    Saturday, April 12, 2025 ot 6:17 PM

•        To:   0 Thompson, Jennif&r {CFP8);   Cc:   ® OiPalma, Nikki (CFPB); 0 Kliger, Gavin {CFP8)   v




HiJen-

This is approval to share the environment admin role for OPS HC - Prod with Gavin Kliger, Senior Advisor to the Acting
Director. He will need access to create, delete, modify, and grant access to flows related to Human Capital.

Please let me know if you have any questions. Thank you.

Adam
Adam Martinez
ChiefOperating Officer




                                                                                                                CFPB_O3683
               Case 1:25-cv-00381-ABJ                   Document 137-1            Filed 04/28/25         Page 133 of 169




•
access control
         0 Martinez, Adam (CFPB) <Adam.Martinez@cfpb.gov>                                                     Thursday, April 17, 2025 ot 2:07PM

         To:   0 Chilbert. Christopher (CFPB); •   McCarty. Thomas (CFPB); 0 Michalosky. Martin (CFPB); 0 Benning, Lon (CFPB); +4 more v



Team-

The Bureau is in the process of issuing RIF notices to identified employees. As soon as HC is able, they will provide you a
list of names whose access should be disconnected at 6:oo pm ESTtomorrow, April 18, 2025.

There will be a list of several OHC employees who will be RIF and must retain their IT and PN IT access in order for them
to process all of this.

Since the building is closed, the most important action needed is to disconnect IT access for tomorrow night.

Nikki, Liza, or I will provide you the list asap. Thank you.

Adam

AdamMartinez
ChiefOperating Officer




                                                                                                                 CFPB_03684
               Case 1:25-cv-00381-ABJ                      Document 137-1                 Filed 04/28/25            Page 134 of 169




& Khger, Gavin (CFPB) added Guzman Evans, Patty (CFPB> and Martinez. Adam (CFPBI to the chat.
                                                                                                                                          4f1Z 5:39 PM

                                                             Hello Patty. Can you please grant me the ability to run. Stafring report on HR Insight?

                                                                           Apnl 14


.f1
     Guzm.1n E\•ans, Pilltty (CfP8)   4/14 9:03 AM

        Good morning, I understand this was taken care of and no further action is needed.



a    Mt1rtinet, Ad;:1m(CFP8) 4(14 10:46 AM

        correct    thank you.




                                                                                                                             CFPB_03685
                         Case 1:25-cv-00381-ABJ                 Document 137-1             Filed 04/28/25           Page 135 of 169




Re: CFPB RIF Work

                  0 Kliger, Gavin (CFPB) <Gavin.Kliger@cfpb.gov>                                                       Thursday,April 17, 2025 at 10:01AM

•                 To:    0 Chilbert, Christopher (Cf PB); 0 Lewin, Jere.ny; 0 Ehsan, Adnan (CFPB); Cc:   •   McCarty, Thomas (CFPB)   v




My mistake - can I also get admin to "OPS HC - OEV"?


From: Chilbert, Christopher (CFPB) <ChristOP-her.Chilbert@CfP-b.gov>
Date: Thursday, April 17, 2025 at 9:28 AM
To: Kliger, Gavin (CFPB) <Gavin.Kliger.@cfP-b.gov>, Lewin, Jeremy <Jeremy,Lewin@cfP-b.gov>, Ehsan, Adnan (CFPB)
<Adnan,Ehsan@cfwi.gl!l/?
Cc: McCarty, Thomas (CFPB) <Thomas. McCarty@i;fi;ib.gQJC,>
Subject: RE: CFPB RIF Work

+@Ehsan, Adnan (CFPB)

Gavin-you are showingas an admin in that environment.Adnan Ehsanwill reach out to troubleshootwith you.

Chris Chilbert
(202) 435-9880


From: Kliger,Gavin (CFPB)<Gayin.Klige!@J;fRR,gQP
Sent: Thursday,April 17, 2025 9:23 AM
To: Chilbert, Christopher {CFPB)<Christopher.Chilbert@cfpb.gov>;Lewin, Jeremy<Jeremy.Lewin@cfpb.gov>
Cc: McCarty,Thomas(CFPB)<Thomas.McCa!1Y.@cfpb.gov>
Subject: Re;CFPBRIFWork

Hey Chris, looks like I still do not have admin over the Power Automate "OPS HC - PROD" environment, which is needed to
manage and execute the RIF notice disbursal. Can we get that ASAP?

Gavin


From: Chilbert, Christopher (CFPB) <Christopher Chilbert@c!Rl2,goy>
Date: Monday, April 14, 2025 at 10:40 AM
To: Kliger, Gavin (CFPB) <Gayin,Kliger.@£.twi.goy>, Lewin, Jeremy <J.ltlwDv,Lewjn@c;fpb,goy>
Cc: McCarty, Thomas (CFPB) <Thomas. McCarty@Qfpb.gov>
Subject: RE: CFPB RIF Work

Gavin & Jeremy- following up on my note from yesterday, just wanted to see if you had time this afternoon to meet with us to confirm you
have all the access you need and It works with your machines. We normally manage our Microsoft Infrastructure on Windows laptops vs.
Mac Book's, so I want to identity any blockers now.
Thanks,

Chris Chilbert
f")f\")\   A~t;   OQQn




                                                                                                                            CFPB_03686
         Case 1:25-cv-00381-ABJ                      Document 137-1              Filed 04/28/25            Page 136 of 169




                                                                   April 12

                                                                                                                                4/12 2:09 P\-1
                                                                                                               Chris, please call me back.

Chilbert, Christopher (CFPB) 4/12 3;07 PM

  I'm trying to call you into a group call

  To walk through the plan

                                                                                                                                4/12 4;47 P\-1



                      r+ Gk Kliger, Gavin (CFPB) 4/12/25 4:46 PM
                     Chilbert, Christopher (CFPB)Who would be able to grant the ability to run reports on HR Insights? You mentioned it
                     would go th.roughTreasury f.asttime, We need to be able to run the report Adam Martinez's team put together so we
                     can get a live view of the org.
                                                                                                                                                 0
                                                                   April 14

Chi1ben,Christopher (CFPB) 4/14 2:01 PM

  Gavin - let me know jf you have time to check your access to EntralO and Active Directory as your permissions should be
  sot up.




                                                                                                                   CFPB_03687
                  Case 1:25-cv-00381-ABJ          Document 137-1          Filed 04/28/25        Page 137 of 169




•
Re: CFPB Draft Email

         0 Kliger, Gavin (CFPB) <Gavin.Kliger@cfpb.gov>                                             Saturday, April 12, 2025 at 3:26PM

         To:      Jeremy Lowin

          ffll_    RIF Notice - Separati... .,.
          ms       47.9KB

           Download •        Preview




Get Outlook for Mac

From: JeremyLewin<jlewin@usaid         gQ:l>
Date: Saturday, April 12, 2025 at 2:35 PM
To: Vought, Russett T. EOP/OMB <Ryssell.T,Yoy2ht2@omb.epiJ.gW£>,Paoletta, Mark R. EOP/OMB
<Mark.R.Paoletta2@lomb.eop.gov>
Cc: ~.ruwg@l.&!~            <~Y.l2ll.llg@.cm.12.8l!l£>, Kliger, Gavin (CFPB) <Gayjn,Kljgw§l.&!ll.b,.gQ.l(>,
                                                                                                         Wick, Jordan (CFPB)
<Jordan Wjck@.&!ll.b,.gw, jordan wlck@g,.a.goy<jordan wjck@gn.gw,            Kilger, Gavin• OSEC, DC <Gayin Kliger@usda gov>,
Farritor, Luke (OS/IOS) <luke.farritor@hhs.gov>, Farritor, Luke (CFPB) <Luke.Farritor@cfpb.gov>
Subject: CFPB Draft Email

As discussed, this is the request we need to CFPB staff.


To: Chris Chilbert (christopher.chilbert@lcmb.gQl!), Adam Martinez (adam.martinez@lcfpb.govJ, Jafnar Gu eye
(ng~gu.fl.gueYJ1@£fll.b.goy)

Please grant Jeremy Lewin, Gavin Kliger, Luke Farritor, and Jordan Wick full global administrative access to both Active
Directory/ Microsoft Entra and HR Connect. If any of their email or other accounts have been disabled, please ensure that
they are reactivated and that they have full access to Bureau systems and communications.

Adam and Jafnar: please send these people four (1) all of the information from the first planned RlF action, including the
populated RIF letters, employee roster and employee information, template letters, and supporting information, (2) the
updated contract spreadsheet, with the detail on claimed statutory requirements, and (3) the current status of any Bureau
probationary employees.

In addition, please give these four people any additional information or permissions that they may need, including additional
systems access or supporting information regarding Bureau personnel or contractual obligations.




                                                                                                       CFPB_03688
                   Case 1:25-cv-00381-ABJ                 Document 137-1                Filed 04/28/25            Page 138 of 169




•
Re: job codes for review and approval

           0 Kliger, Gavin (CFPB) <Gavin.Kliger@cfpb.gov>                                                               Thursday,April 17, 2025 at 2:23PM

           To:     ® Paoletta, Matk (Oetailee)(CFPB)

            ft.:    FinalRetentionRegis... .,,
            -·      2.5 MB

             Download ,      Pre\fiew



Please see attached for personnel retained. See RetentionRun for released employees, and Retention Retain for retained
employees. Per discussion, the difference in count is likely due to unfilled positions, but will verify.

Gavin
From: Paoletta, Mark (Detailee)(CFPB) <Mark,Paoletta@{;fp,P,IIQl!>
Date: Thursday, April 17, 2025 at 2:19 PM
To: Kliger, Gavin (CFPB) <Gayjn Kljgei:@~>
Subject: FW: job codes for review and approval




From: Martinez, Adam (CFPBl <Adam.Martinez@&.(11.!1,ggx:,
Sent: Wednesday, April 16, 202S 4:50 PM
To: Paoletta, Mark (Detallee)(CFPB) <tlllark f'io(etta@,c;fQ,!,,&2l(>;Shapiro, Daniel (Detailee) <Qanlel,Sha~Qll.goy>
Cc: Dorfman, Victoria (Detailee) <Victoria Qorfman@cfRll,goy>
Subject: RE:job codes for review and approval

Received.Thankyou.

Adam Martinez
Chief OperatingOfficer

From: Paoletta, Mark (Detailee)(CFPB) <Mark f'ioletta@i;f121!,goy>
Sent: Wednesday, April 16, 2025 4:46 PM
To: Martinez, Adam (CFPB)<Adam.Martinez@£fl!!LgQJ!>; Shapiro, Daniel (Detailee) <Daniel.Shapiro@cfP.ll.gov>
Cc: Dorfman,Victoria(Oetailee)<Victoria.Oorfman@cfpb.gov>
Subject: RE:job codes for review and approval

Adam,

We approve the retention numbers set forth in this Excel spreadsheet.

Thanks for your work on this.

Mark




                                                                                                                           CFPB_03689
                 Case 1:25-cv-00381-ABJ                 Document 137-1              Filed 04/28/25          Page 139 of 169




Re: CFPB-USDS executed agreement

          0 Gilchrist, Joseph {CFPB) <Joseph.Gilchrist@cfpb.gov>                                                 Saturday, April 12, 2025 at 3:32PM

          To:    0 Kliger, Gavin (CFPB); Cc: 0 Chilbert, Christopher (CFPB); 0 Martinez, Adam (CFPB); 0 Malik, lrfan (CFPB); +1 more v

            .-    Gavin_Kliger_Cloud
                                   ...        _    FY24_Rules_of_Bell
                                                                   ...
                  1.4 MB                      ;"   320.2 KB

            Download All •    PreviewAll



Please see the attached PUA and ROB for needed access.

Joe Gilchrist
lead, Mobility & ICAM I Infrastructure Solutions I Technology & Innovation
Mobile: (202) 420-0494
Bureau of Consumer Financial Protection
consumerfinance.gov
Availability: Telework Primary, M-T 7:30am - 6:00pm



From: Kliger, Gavin (CFPB) <Gayjn Klig!li@_cfpb.goy>
Date: Saturday, April 12, 2025 at 2: 14 PM
To: Gilchrist, Joseph (CFPB) <Joserih.Gilchrist@cfpb.gov>
Subject: Fw: CFPB-USDS executed agreement




From: Chilbert, Christopher (CFPB)<Qimtopher.Chilbert@.&fR.il.,gQP
Sent: Friday, February 7, 2025 7:41 PM
To: Jesuorobo, Dickson (CFPB)<Dickson.Jesuorobo@cfp.!1.,~>; Sadeghi, Ali {CFPB) <)'QJ&epb.Sadeghi@cfim,ggy>; Weigert, Brandon
{Cf PB) <Brandon Wejgm@.&fR.il.,gQP; McCarty, Thomas (Cf PB) <Thomas.McCartylii>i;fl!ll.,gQP; Malik, lrfan (CFPB)
<lrfan.Malik@QP-b.gov>; Gilmore, Vivienne {CFPB) <Vivienne.Gllmore@cfpb.goV>; Gilchrist, Joseph (CFPB)
<Joseph.Gilcbcist@dJm.gg:,:>; Sayre, Stephen (CFPB) <Sleohen.Sayr!:@..Qim,goy;>;Scott, Adam (CFPB)<Adam.Scott@_gll1!,goi,:>;
Benning, Len (CFPB) <l&nnY. Bennjng@..Ql!l2.gQll>;Martinez, Adam (CFPB)<AdamMartjnez@cfpb gov>;Szybala, Julia (CFPB)
<lylja.Szybala@i;fpl;i.gQP;White, Sonya (CFPB)<S.0.C.ya,Whjte@i;fR.il.,goy>;
                                                                         Beaudette, Mark (CFPB)<Mark,Beaydette@cfRll.goy>;
Chang, Jean {CFPB) <Jean.Chang.@cfpb.gov>; Broeksmlt, Samuel (CFPB)<Samuel.Broeksmit@cfpb.goV>; Sutton, Jocelyn (CFPB)
<J.o&.elvn,Sutton@ctob.,goy>
Cc: Kliger, Gavin <Gayjn Klj~.&fl!ll.,gQP
Subject: FW: CFPB-USDSexecuted agreement

All- please see Instructions below. We have received direction from Acting Director Vought to provide administrative accessto the systems listed
in the email below.




                                                                                                                     CFPB_03690
                             Case 1:25-cv-00381-ABJ                                                 Document 137-1                                   Filed 04/28/25                              Page 140 of 169




RE: CFPB-USDS executed agreement

                  ® Chilbert, Christopher                             (CFPB) <Christopher.Chilbert@cfpb.gov>                                                                                             Saturday, April 12, 2025 al 3:35PM

                   To:      O Gilchrist, Joseph (CFPB}; 0 Kliger, Gavin (CFPB}; Cc: ® Martinez, Adam (CFPBJ; ® Malik, lrfan (CFPBJ; +1 more v


The Unkfor the privileged user training is here: Ubra[YJ KnowBe4- it~sabout 5 minutes long and we,U be compliant if you take it along with
signingthe forms.

Chris Chllbert
(202) 435-9880

From: GIichrist, Joseph {CFPBl </oseph.Gl!chrlst@-'fpb,go~>
Sent: Saturday, April 12, 2025 3:32 PM
To: Kliger, Gavin (CFPB)<Gavin Kilger@..ctRl!,ggp
Cc: Chilbert, Christopher (CFPB)<Christopher.Chilbert@cfpb.gov,; Martinez, Adam (CFPB} <Adam.Martinez@cfl!l!,&Qll>; Malik, lrfan {CFPB)
<lrtao Maljk@cfRb.gg:{,>;McCarty, Thomas {CFPBl <Thomas,Mc:C.jrty@~l<.b,.ggx>
Subject: Re: CFPB-USDSexecuted agreement

Please see the anached PUA and ROB for needed access.

Joe Gilchrist
Lead, Mobility & ICAM I Infrastructure Solutions I Technology & Innovation
Mobile: (202) 420-0494
Bureau of Consumer Financial Protection
consumerflnance.gov
Availability: Telework Primary, M-T 7:30am - 6:00pm



From; Kliger, Gavin (CFPB) <Gavin.KLiger@£fQb.gov>
Oat": Saturday, Aplil 12, 2025 at 2:14 PM
To: Gilchrist, Joseph (CFPB) <Joseph.Gilchrist@ctpb.gov>
Subject: Fw: CFPB-USDS executed agreement




From: Chilbert, Christopher {CFPB) <Christopher.Chilbert@cfpb.gov>
Sent: Friday, February 7, 2025 7:41 PM
To: Jesuorobo, Dickson (CFPB)<Dickson.Jesuorobo@cfpb.gQl!>; Sadeghi, Ali (CFPB) <Youseph.Sadeghi@.!iJlb.gQl!>; Weigert, Brandon
(CFPB)<Brandon.Weigert@cfrm,gov>; McCarty, Thomas (CFPB)<Thomas.McCar!Y.@QP-1!,gov>;Malik, lrfan (CFPB)
<lrfan.Malik@cfrm,gov>; Gilmore, Vivienne (CFPB)<Vivienne.Gilmore@cfpb.gov>; Gilchrist, Joseph (CFPB)
<J.Qgph,GUchrjst@cfpb.gov>; Sayre, Stephen (CFPB) <Slephen,Sayr~.£12b.g0l£>; Scott, Adam (CFPB)<Adam,Scott@cf.Qb.g0l£>;
Benning, Len (CFPB) <Lenny.Benning@!:frm,gQl!>; Martinez, Adam (CFPB)<Adam.Martinez@!!l)igov>;                                                                                                                        Szybala, Julia (CFPB)
<J.ulii.Sl.y.ll.ali@.J;fJl.b..gOl£>;
r-1-. ...... ,.. , ........ /reno\
                                                                                                          ,w
                                                    White, Sonya (CFPB) <s.wJ.va bjte@c;;mb.g0l£>;Beau d ett e, Ma rk (CFPBl <Mark, Beaydette@cfJl.b..gOl£>;
                                   ...., ......... rk-. ..... t.::\,..&... t-. ,.. ... , ...... 0 ....... 1........ :.. c ....... ,,,.1 trcno\ ...c ............. 1 0,..,..,.,1,,. .....:..r,:;\-&..,1-. ............. c . .++,.. ... 1....,.,..1 ..... trcno\




                                                                                                                                                                                                                CFPB_03691
                  Case 1:25-cv-00381-ABJ                Document 137-1             Filed 04/28/25         Page 141 of 169




Re: CFPB-USDS executed agreement

            0 Gilchrist, Joseph (CFPB) <Joseph.Gilchrist@cfpb.gov>                                             Sa1urday, Apnl 12, 2025 at 2:27 PM

            To:   0 Kliger, Gavin (CFPB); Cc: 0 McCarty, Thomas (CFPB); 0 Chilbert, Christopher (CFPBI; 0 Malik, lrfan (CFPB)   v


0 Completedon Wednesday,April 23, 2025.

Hi Gavin,

I have received your request below. Thank you for the cited material below In reference to reinstating the privilege access of Microsoft
Entra ID Global Ad min as well as On-Premises Domain Ad min. As requested, we are contacting Chris to reach out to you immediately.
will let you know more, or Chris will let you know more shortly. Thank you for your patience.

Joe Gilchrist
Lead, Mobility & ICAM I lnfrastructure Solutions I Technology & Innovation
Mobile: (202) 420-0494
Bureauof ConsumerFinancialProtection
consumerfinaoce,g~
                                        1 - 6:00pm
Availability http:JJwww.consumerfinance.gov/



From: Kliger, Gavin (CFPB) <Gavin.KUger@gpb.goV>
Date: Saturday, April 12, 2025 at 2:14 PM
To: Gilchrist, Joseph (CFPB) <Josegh.Gilchrist@cfpb.gov>
Subject: Fw: CFPB-USDS executed agreement




From: Chilbert, Christopher (CFPB)<!:bmtocher.Chjlbert@l.&fll.b..g1W>
Sent: Friday, February 7, 2025 7:41 PM
To: Jesuorobo, Dickson (CFPB)<Djckson.Jesuorobo@cfoll,gQll>; Sadeghi, Ali (CFPB) <~~gbi@&fp..l!.gQll>;             Weigert, Brandon
(CFPB)<Brandon Wejgert@cfpb gov>; McCarty, Thomas (CFPB)<Thomas McCarty..@dil.b..gllll>; Malik, lrfan (CFPB)
<lrfan.Malik@_gp.Juov>; Gilmore, Vivienne (CFPB)<Vivienne.Gilmore@dpb.goV>; Gilchrist, Joseph {Cf PB)
<loseph.GjJchrjst@d'.11.b..&l!ll>;
                                 Sayre, Stephen (CFPB) <Slephen,Sayre@.&fll.b..&wt>;Scott, Adam {CFPB) <Adam,Scott@c(il.b..glll£>;
Benning, Len (CFPB)<Lenny Bennjng@.&fll.b..8lll£>;Martinez, Adam (CFPB)<Adam Martjnez@d'.11.b..gop; Szybala, Julia (CFPB)
<.lulia.Szybala@c;fp.Juov>; White, Sonya {CFPB) <Sonya.White@dPMOV>; Beaudette, Mark (CFPB)<Mark.Beaudette@dlJb.gov>;
Chang, Jean (CFPB) <Jean.Chang@cfll.b..~>; Broeksmit, Samuel (CFPB)<Samuel,Broeksmjt@cfPll.,gW£>;        Sutton, Jocelyn (CFPB)
~Iyo      Sutton@cfpQ,glll£>
Cc: Kliger, Gavin <Gavin.Kliger@cf P-Q.gov>
Subject: FW: CFPB-USDSexecuted agreement

AU- pleasesee instructionsbelow.We havereceiveddirectionfrom ActingDirectorVoughtto provideadministrativeaccessto the systemslisted
in the email below.




                                                                                                                  CFPB_03692
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                               April 16, 11:08 AM


             Hello Michael. Adam Martinez at CFPB
             recently sent a set of competitive
             areas for review. This is of the highest
             priority - please ensure we review
             promptly.

             Call me if any questions.

Hi Gavin Thanks. Yes Noah forwarded
to us
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                    EXHIBIT 67
                       Case 1:25-cv-00381-ABJ        Document 137-1          Filed 04/28/25         Page 144 of 169

               National Treasury Employees Union v. Vought, No. 1:2~-00381        (DDC)- Defendants' First Privilege Log
File Name   BATES   PRODUCTION     DOC    SUBJECT      DATE      FROM              TO             cc           SUBJECT            PRIVILEGE
            RANGE                 1YPE                                                                         MATTER             ASSERTION
!Proposed                        Email    Proposed   Apr. 13,   Lewin, J.     •Paoletta, M.;   Kliger, G.   Email attaching   DPP;ACP;WP
CFPBRJF                                   CFPB RIF   2025                     Vought, R.                    spreadsheet of
List··                                    List                                                              CFPB
WITHHOL                                                                                                     employees and
DIN FULL                                                                                                    positions and
                                                                                                            refleeting
                                                                                                            confidential
                                                                                                            predecisional
                                                                                                            ddiberations
                                                                                                            concerning
                                                                                                            which positions
                                                                                                            are statutorily
                                                                                                            required,
                                                                                                            discussions of
                                                                                                            thelitigation.
                                                                                                            and seeking
                                                                                                            legal advice
                                                                                                            concerningthat
                                                                                                            tooic.
2RE_                             Email    RE:        Apr. 13,   •Paoletta,    Lewin,J.;        Kliger, G.   Email chain       DPP;ACP;WP
Proposed                                  Proposed   2025       M.            -Paoletta, M.;                refleeting
CFPB RIF                                  CFPB RIF                            Vought, R.                    confidential
List··                                    List                                                              predecisional
WITHHOL                                                                                                     deliberations
DIN FULL                                                                                                    concerning
                                                                                                            which positions
                                                                                                            are statutorily
                                                                                                            required,
                                                                                                            discussions of
                                                                                                            the litigation,
                                                                                                            and seeking
                                                                                                            legal advice
                                                                                                            concerning that
                                                                                                            tooic.
3FW                              Email    FW:        Apr.13,    •Paoletta,    Martinez.A.                   Email chain       DPP;ACP; WP
Proposed                                  Proposed   2025       M.                                          refleeting
CFPBRJF                                   CFPB RIF                                                          conf"idential
List··                                    List                                                              oredecisional


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                    Case 1:25-cv-00381-ABJ         Document 137-1          Filed 04/28/25         Page 145 of 169

             National Treasury Employees Union v. Vought, No. 1:2~-00381        (DDC)- Defendants' First Privilege Log

WITHHOL                                                                                                   ddiberations
DIN FULL                                                                                                  concerning
                                                                                                          which positions
                                                                                                          are statutorily
                                                                                                          required,
                                                                                                          discussion of the
                                                                                                          litigation, and
                                                                                                          seeking legal
                                                                                                          advice
                                                                                                          concerningthat
                                                                                                          tooic.
4Re                            Email    Re:        Apr. 13,    Lewin, J.    Lewin,J.;        Kliger, G.   Email chain         OPP;ACP;WP
Proposed                                ProPOsed   2025                     "Paoletta, M.;                reflecting
CFPB RIF                                CFPB RIF                            Vought, R.                    confidential
List 2 ••                               List                                                              predecisional
WITHHOL                                                                                                   ddiberations
DIN FULL                                                                                                  concerning
                                                                                                          which positions
                                                                                                          are statutorily
                                                                                                          required and
                                                                                                          seeking legal
                                                                                                          advice
                                                                                                          concerningthat
                                                                                                          tooic.
5CFPB RJF                      Email    CFPB RJF   April 13,   Vought       Martinez, A.;    Bishop, J.   Email reflecting    OPP;ACP;WP
Work-                                   Work       2025                     Gueye,J.;                     confidential
WITHHOL                                                                     •Paoletta, M;                 predecisional
DIN FULL                                                                    Shapiro, D .;                 ddiberations
                                                                            *Dorfman, V;                  concerning
                                                                            *'Boizelle,A.;                potential RIF,
                                                                            Davis,S.;                     discussion of the
                                                                            Lewin,J.;                     litigation, and
                                                                            Kliger,G.;                    seeking legal
                                                                            Chilbert, C.                  advice
                                                                                                          concerning that
                                                                                                          tonic.
7Re_CFPB                       Email    Re: CFPB   April 13,   Lewin,J      •Paoletta, M;    Bishop, J.   Email chain         ACP;DPP; WP
RIF Work-2                              RIFWork    2025                     Shapiro, D .;                 reflecting
..                                                                          Boizelle, A.;                 confidential
                                                                                                          nredecisional

                                                               2
                    Case 1:25-cv-00381-ABJ         Document 137-1           Filed 04/28/25        Page 146 of 169

             National Treasury Employees Union v. Vought, No. 1:2~-00381        (DDC)- Defendants' First Privilege Log

WITHHOL                                                                      *Dorfman,V;                  ddiberations
DIN FULL                                                                     *Fox, J.                     concerning
                                                                                                          potential RIF,
                                                                                                          discussion of the
                                                                                                          titigation, and
                                                                                                          seeking legal
                                                                                                          advice
                                                                                                          concerning that
                                                                                                          tooic.
8 Re_CFPB                      Email    Re: CFPB   April 13,   Boizclle,     Lewin,J;        Bishop, J.   Email chain         ACP;DPP; WP
RIF Work-3                              RIFWork    2025        A             •Paoletta, M;                refleeting
..                                                                           Shapiro, D .;                con.fidential
WJTHHOL                                                                      *Dorfman, V;                 predecisional
DIN FULL                                                                     •Fox, J.                     ddiberations
                                                                                                          concerning
                                                                                                          potential RIF,
                                                                                                          discussion of the
                                                                                                          titigation, and
                                                                                                          seeking legal
                                                                                                          advice
                                                                                                          concerning that
                                                                                                          iooic.
9 Re_CFPB                      Email    Re: CFPB   April 13,   "Paoletta,    *Boizelle, A;   Bishop,J.;   Email chain         ACP;DPP; WP
RIF Work-4                              RIFWork    2025        M.            Lewin,J;        *McArthu     refleeting
..                                                                           Shapiro, D .;   r,E .        con.fidential
WJTHHOL                                                                      *Dorfman, V;                 predecisional
DIN FULL                                                                     •Fox, J.                     ddiberations
                                                                                                          concerning
                                                                                                          potential RJF,
                                                                                                          discussion of the
                                                                                                          titigation, and
                                                                                                          seeking legal
                                                                                                          advice
                                                                                                          concerning that
                                                                                                          iooic.
10                             Email    Re: CFPB   April 13,   "Paoletta,    Vought, R.;     Bishop,J.    Email chain         ACP;DPP; WP
Re_CFPB                                 RIFWork    2025        M.            Martinez,A.;                 refleeting
RJF Work-5                                                                   Gueye,J.;                    con.fidential
..                                                                           Shapiro, D .;                predecisional
                                                                             •Dorfman V·                  ddiberations

                                                               3
                    Case 1:25-cv-00381-ABJ         Document 137-1          Filed 04/28/25    Page 147 of 169

             National Treasury Employees Union v. Vought, No. 1:2~-00381        (DDC)- Defendants' First Privilege Log

WITHHOL                                                                     *'Boizelle,A.;         concerning
DIN FULL                                                                    Davis,S.;              potential RJF,
                                                                            Lewin,J.;              discussion of the
                                                                            Kliger,G.;             litigation, and
                                                                            Chilbert, C.           retlecting legal
                                                                                                   advice
                                                                                                   concerning that
                                                                                                   tooic.
11 Call -                      Email    Call       Apr. 15,   •Burnham      •Paoletta, M.;         Email between       ACP;WP;PCP
WITHHOL                                            2025       J.            •Mascott, J.;          attorneysin the
DIN FULL                                                                    *'Boizelle,A.          Executive Office
                                                                                                   of the President
                                                                                                   and Mr. Paolena
                                                                                                   retlecting
                                                                                                   con,fidential
                                                                                                   communication
                                                                                                   concerningthe
                                                                                                   provision of
                                                                                                   legal advice
                                                                                                   regarding
                                                                                                   potential RJFin
                                                                                                   context of
                                                                                                   litifKlltion.
12 Re Call                     Email    Rec Call   Apr. 15,   •Paoletta,    *'Burnham,J.;          Email chain         ACP; WP;PCP
..                                                 2025       M.            *Mascott, J.;          between
WJTHHOL                                                                     *Boizelle, A.          attorneys in the
DIN FULL                                                                                           Executive Office
                                                                                                   of the President
                                                                                                   and Mr. Paolena
                                                                                                   retlecting
                                                                                                   con,fidential
                                                                                                   communication
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                                                                                                   legal advice
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                                                                                                   potential RJFin
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              National Treasury Employees Union v. Vought, No. 1:2~-00381       (DDC)- Defendants' First Privilege Log

13 Re_ Call                     Email    Rec Call   Apr. 15,   •Mascott,     •Paoletta, M.   *Burnham Email chain            ACP; WP;PCP
. 2 ..                                              2025       J.                            , J.;        between
WITHHOL                                                                                      *Boizelle,   attorneysin the
DIN FULL                                                                                     A.           Executive Office
                                                                                                          of the President
                                                                                                          and Mr. Paolena
                                                                                                          reflecting
                                                                                                          cortfidential
                                                                                                          communication
                                                                                                          concerningthe
                                                                                                          provision of
                                                                                                          legal advice
                                                                                                          regarding
                                                                                                          potential RJFin
                                                                                                          context of
                                                                                                          litifKlltion.
14 RE Call                      Email    Rec Call   Apr. 15,   *'Burnham •Mascott, J.;       *Boizelle,   Email chain        ACP; WP;PCP
. 3 ..                                              2025       'J.       •Paoletta, M.       A.           between
WJTHHOL                                                                                                   attorneys in the
DIN FULL                                                                                                  Executive Office
                                                                                                          of the President
                                                                                                          and Mr. Paolena
                                                                                                          reflecting
                                                                                                          con,fidential
                                                                                                          communication
                                                                                                          concerningthe
                                                                                                          provision of
                                                                                                          legal advice
                                                                                                          regarding
                                                                                                          potential RJFin
                                                                                                          context of
                                                                                                          litifKlltion.
15 RE Call                      Email    Rec Call   Apr. 15,   •Paoletta,    *'Burnham,J.; *Boizelle,     Email chain        ACP; WP;PCP
. 4 ..                                              2025       M.            •Mascott, J.  A.             between
WJTHHOL                                                                                                   attorneys in the
DIN FULL                                                                                                  Executive Office
                                                                                                          of the President
                                                                                                          and Mr. Paolena
                                                                                                          reflecting
                                                                                                          confidential

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                   Case 1:25-cv-00381-ABJ         Document 137-1         Filed 04/28/25       Page 149 of 169

            National Treasury Employees Union v. Vought, No. 1:2~-00381      (DDC)- Defendants' First Privilege Log

                                                                                                      communication
                                                                                                      concerningthe
                                                                                                      provisionof
                                                                                                   legal advice
                                                                                                   regarding
                                                                                                   potentialRlF in
                                                                                                   contextof
                                                                                                   liti=tion.
16RE_ CaU                     Email    Re: Call   Apr. 15,   •Burnham •Paoletta,M.;      *BoizeUe, Emailchain            ACP;WP;PCP
. 5 ..                                            2025       ,J.      •Mascott, J.       A.        between
WITHHOL                                                                                               attorneysin the
DIN FULL                                                                                              ExecutiveOffice
                                                                                                      of the President
                                                                                                      and Mr. Paoletta
                                                                                                      retlecting
                                                                                                      confidential
                                                                                                      communication
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                                                                                                      provisionof
                                                                                                      legal advice
                                                                                                      regarding
                                                                                                      potentialRlF in
                                                                                                      contextof
                                                                                                      liti=tion.
17RE CaU                      Email    Re: Call   Apr. 15,   *Mascott,    •Burnham, J.   •Paoletta,   Emailchain       ACP;WP;PCP
. 6 ..                                            2025       J.                          M.;          between
WITHHOL                                                                                  *Boizelle,   attorneysin the
DIN FULL                                                                                 A.           ExecutiveOffice
                                                                                                      of the President
                                                                                                      and Mr. Paoletta
                                                                                                      retlecting
                                                                                                      confidential
                                                                                                      communication
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                                                                                                      legal advice
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                                                                                                      potentialRlF in
                                                                                                      contextof
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                       Case 1:25-cv-00381-ABJ         Document 137-1          Filed 04/28/25        Page 150 of 169

                National Treasury Employees Union v. Vought, No. 1:2~-00381       (DDC)- Defendants' First Privilege Log

18 RE_ Call                       Email    Rec Call   Apr. 15,   •Mascott,     •Burnham, J.    •Paoletta,   Email chain        ACP; WP;PCP
. 7 ..                                                2025       J.                            M.;          between
WITHHOL                                                                                        •Boizelle,   attorneysin the
DIN FULL                                                                                       A.           Executive Office
                                                                                                            of the President
                                                                                                            and Mr. Paolena
                                                                                                            reflecting
                                                                                                            cortfidential
                                                                                                            communication
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                                                                                                            provision of
                                                                                                            legal advice
                                                                                                            regarding
                                                                                                            potential RJF in
                                                                                                            context of
                                                                                                            litifKlltion.
19RE Call                         Email    Rec Call   Apr. 15,   •Paoletta,    •Mascott, J.;   *Boizelle,   Email chain        ACP; WP;PCP
. 8 ..                                                2025       M.            •Burnham, J.    A.           between
WJTHHOL                                                                                                     attorneys in the
DIN FULL                                                                                                    Executive Office
                                                                                                            of the President
                                                                                                            and Mr. Paolena
                                                                                                            reflecting
                                                                                                            con,fidential
                                                                                                            communication
                                                                                                            concerningthe
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                                                                                                            legal advice
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                                                                                                            potential RJF in
                                                                                                            context of
                                                                                                            litifKlltion.
20RE     Call                     Email    Rec Call   Apr. 15,   *'Burnham •Paoletta, M.;      *Boizelle,   Email chain        ACP; WP;PCP
. 9 ..                                                2025       'J.       •Mascott, J.        A.           between
WJTHHOL                                                                                                     attorneys in the
DIN FULL                                                                                                    Executive Office
                                                                                                            of the President
                                                                                                            and Mr. Paolena
                                                                                                            reflecting
                                                                                                            confidential

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                    Case 1:25-cv-00381-ABJ         Document 137-1          Filed 04/28/25       Page 151 of 169

             National Treasury Employees Union v. Vought, No. 1:2~-00381       (DDC)- Defendants' First Privilege Log

                                                                                                       communication
                                                                                                       concerningthe
                                                                                                       provisionof
                                                                                                      legal advice
                                                                                                      regarding
                                                                                                      potentialRlF in
                                                                                                      contextof
                                                                                                      liti=tion.
21 RE_ CaU                     Email    Re: Call   Apr. 15,   •Paoletta,    *Mascott,J.;    *BoizeUe, Emailchain          ACP;WP;PCP
• 10-                                              2025       M.            *'Burnham.J.    A.        between
WITHHOL                                                                                                attorneysin the
DIN FULL                                                                                              ExecutiveOffice
                                                                                                      of the President
                                                                                                      and Mr. Paoletta
                                                                                                      retlecting
                                                                                                      confidential
                                                                                                      communication
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                                                                                                      provisionof
                                                                                                      legal advice
                                                                                                      regarding
                                                                                                      potentialRlF in
                                                                                                      contextof
                                                                                                      liti=tion.
22RE CaU                       Email    Re: Call   Apr. 15,   *Mascott,     •Paoletta,M.;   *BoizeUe, Emailchain       ACP;WP;PCP
- 11 --                                            2025       J.            "Burnham,J.     A.        between
WITHHOL                                                                                                attorneysin the
DIN FULL                                                                                               ExecutiveOffice
                                                                                                       of the President
                                                                                                       and Mr. Paoletta
                                                                                                       retlecting
                                                                                                       confidential
                                                                                                       communication
                                                                                                       concerningthe
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                                                                                                       legal advice
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                                                                                                       potentialRlF in
                                                                                                       contextof
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                     Case 1:25-cv-00381-ABJ         Document 137-1         Filed 04/28/25        Page 152 of 169

              National Treasury Employees Union v. Vought, No. 1:2~-00381      (DDC)- Defendants' First Privilege Log

23 RE_ Call                     Email    Rec Call   Apr. 15,   •Mascott,    •Paoletta, M.;   *Boizelle,   Email chain        ACP; WP; OPP; PCP
• 12-                                               2025       J.           •Burnham, J.     A.;          between
WITHHOL                                                                                      Shapiro.     attorneysin the
DIN FULL                                                                                     D.           Executive Office
                                                                                                          of the President
                                                                                                          and Mr. Paolena
                                                                                                          reflecting
                                                                                                          cortfidential
                                                                                                          predecisional
                                                                                                          and deliberative
                                                                                                          communication
                                                                                                          concerning the
                                                                                                          provision of
                                                                                                          legal advice
                                                                                                          regarding
                                                                                                          potential RIF in
                                                                                                          context of
                                                                                                          liti .. tion.




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                    EXHIBIT 68
                               Case 1:25-cv-00381-ABJ                           Document 137-1                      Filed 04/28/25                Page 154 of 169
                                                Natlt)111tlTr~IUJ   &,,/OJ«$ UnllJII v. V•11tt, No. 1:~"'00381     (DOC)- Dtfffldlnb' Second PrMltrt 1.(1:



Dod       Fie Nm1.e      BATES RANCE PRODUCTION           DOC       SUBJECT DATE               FROM                             TO                       cc          SUBJECT MATTER             PRIVILEGE
                                                         1YPE                                                                                                                                   ASSERTION
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 2    AM responJtRB_    CFPB_02391tc>       M.#1S'le:t ::mail       RE:CFPB r""· 13, v~.1w...u                   Mat1S'le:r.,
                                                                                                                          Ad#n; Oueye,Jath#;       Bisll(I),J#lleS   Redacted«nail dlain      OPP;ACP;WP
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                           Case 1:25-cv-00381-ABJ                           Document 137-1                      Filed 04/28/25                 Page 155 of 169
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3   FW_CFPBRIFWo, CFPB_02<ll3
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s   FW_CFPBRIFWo, CFP8_02461tc> 4.24 M.#1.a'le:t ::mail           FW:CFPB1'1"·
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8   Re:PrivilegedCIDliJ CFPB_02634-   4.l4Ma1Gez     !mail        R,:       ,,..,11. 'Oodinan, Vi'4oria        Mlr1Gez,Adam                                       Redilc:tcdcmaildtain AC:WP
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                            Case 1:25-cv-00381-ABJ                   Document 137-1                      Filed 04/28/25               Page 157 of 169
                                     Natlt)111tlTr~IUJ   &,,/OJ«$ UnllJII v. V•11tt, No. 1:~"'00381    (DOC)- Dtfffldlnb' Second PrMltrt 1.(1:



9   RB:CFPBRIFW<,k   II/A                   ::mail       CFPBRTF1'1"·
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                                                                                                               Ad#n; Oueye,Jafu#;      Bisli(I),J#lleS   Redacted«nail diain     OPP;/>C;WP
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                        Case 1:25-cv-00381-ABJ                         Document 137-1                      Filed 04/28/25                 Page 158 of 169
                                       Natlt)111tlTr~IUJ   &,,/OJ«$ UnllJII v. V•11tt, No. 1:~"'00381    (DOC)- Dtfffldlnb' Second PrMltrt 1.(1:



10 FW:CFPBRTFW<rl CFPB_027~-      M.#1.a'le:t ::mail       CFPBRll' 1'1"·
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                            Case 1:25-cv-00381-ABJ                             Document 137-1                      Filed 04/28/25                 Page 159 of 169
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II   FW:CFPBRTFW<rl CFPB_027'4•         M.#1.a'le:t ::mail         CFPBRll' 1'1"·
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12 .. , CFPBRIF Wod<• CFPB_02768-   4.24 2nd          !mail        CFPBRIF ,,..,13, Vool!l<,Ru...U              Mlr1itez, Adam; Gueye, Jlfb.ar;    Jli.shq,,Jaou     Redilc:tedemaildtain OPP;ACP;WP
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   2 Remctod          CFPB_027<9    Productioo                     WORK ~025                                    •Pao!c«a,Mak; •Shapiro,Danict                        ..no~
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                           Case 1:25-cv-00381-ABJ                           Document 137-1                      Filed 04/28/25                Page 160 of 169
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13 Re:CFPBRJFWod<•
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15 Re:CFPBRIF wo,t,. CFPB_OIS~I>   4235PM          !mail        CFPBRIF ,,..,13, Vool!l<,Ru...U              •Martinez,Adam;Guc)\!,Jafmr;      Jli.shq,,Jaou     Redilc:tedemaildtain OPP; ACP;WP
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16 Re:CFPBRJF Wod<•CFPB_0206!to       j: PM         ::mail       CFPBRJF 1'1"·
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                                                  Natlt)111tlTr~IUJ   &,,/OJ«$ UnllJII v. V•11tt, No. 1:~"'00381    (DOC)- Dtfffldlnb' Second PrMltrt 1.(1:



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21   Re:CFPB RJFWO<I<N/A                     ::mail       CFPBRJF            Pac>le1,M.-t              Vought,RUJJdl;Mat1ine:,.,   Ad#n;    Bisll(I),J#lleS   Emailchaa'Irellec:c.ingACP;WP; OPP
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22 CFPBRIFWO<I< II/A                        ::mail       CFPBRll' 1'1"·
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26   Re:CFPBRJFWod< II/A                   ::mail       CFPBRJF 1'1"·
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                    National TreasuryEmployees Unionv. Vought,No. I :25-cv-00381 (DOC) - Defendants' Third Privilege Log
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